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                                                                                2231-CC00636

              IN THE CIRCUIT COURT OF GREENE COUNTY, MISSOURI
JIM ARNOTT, IN THE OFFICIAL                   )
CAPACITY AS SHERIFF OF                        )
GREENE COUNTY, MISSOURI AND                   )
GREENE COUNTY, MISSOURI                       )
          Plaintiff(s),                       )
                                              )
       vs.                                    )
                                              )       Case Number: _______________
ADVANCED CORRECTIONAL                         )
HEALTHCARE, INC.                              )
                                              )
               Defendant(s).                  )

                                            PETITION
       COMES NOW Plaintiff Jim Arnott, in the official capacity as Sheriff of Greene County,

Missouri, and Greene County, Missouri, by and through counsel of record, Keck and Phillips,

LLC, and for their petition against Defendant Advanced Correctional Healthcare, Inc., states the

following:

                               The Parties, Jurisdiction, and Venue

       1.      Greene County, Missouri is a first class county and Jim Arnott is the duly elected

Sheriff of Greene County, Missouri.

       2.      Advanced Correctional Healthcare, Inc. (ACH) is incorporated and had its principal

place of business in Illinois, located at 3922 West Baring Trace, Peoria, IL 61615 at all times

relevant herein up until 2021, when it relocated its principal place of business to Tennessee, at 720

Cool Springs Blvd., Suite 100, Franklin, TN 37067.

       3.      ACH can be served via its Registered Agent, CT Corporation System, 120 S.

Clayton, MO 63105.

       4.      This Court has subject matter and personal jurisdiction over the matters referenced

herein, and venue is appropriate in Greene County, Missouri, including because ACH made

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representations to Plaintiff in Greene County, Missouri, and ACH provided inmate medical

services at the jail of Greene County (“GCJ”), and ACH consented to jurisdiction and venue (Ex.

A, ACH 000050 at § 3.15) and the disputes regard amounts in excess of $25,000.00.

                                   Representations and Agreement

        5.      ACH deliberately or negligently made representations, through its staff, in-person,

and through sales pitches, seminars, the internet, and marketing materials, and continues to make

representations, to the effect that if hired to provide inmate medical services at detention facilities,

such as the GCJ, and in the event that an inmate asserts claims against the public offices, entities,

and staff, affiliated with that detention facility, arising out of or in connection with ACH providing

inmate medical services, then ACH will protect, insure, defend, hold harmless, and indemnify the

sued public offices, entities, and staff.

        6.      On or about April of 2017, ACH represented that it would, and agreed to, provide

inmate medical services at the GCJ, a true and accurate copy of said representations and agreement

which is attached as Exhibit A, and referred to as “the Agreement.” Ex. A, ACH 000031-63.

        7.      ACH deliberately or negligently misrepresented that it had the ability and intent

and would provide all of the services described in the Agreement and that it could be relied upon

to provide such services.

        8.      Plaintiff reasonably relied on ACH to provide the services that it represented it

would provide; and reasonably relied on ACH to provide the services described in the Agreement.

        9.      ACH had a duty to provide the services that it represented it would provide,

including as encompassed in the Agreement.




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       10.     ACH provided inmate medical services at the GCJ through Dr. Jason Wilkins, M.D.

and other medical staff in 2017 and through July 12, 2019. Ex. A; Ex. B; Ex. L, p.4.

                        Federal Lawsuits by Inmates Hancock, Porter, and Blade

       11.     On or about May 29, 2018 Michael D. Hancock (Hancock) filed suit in the United

States District Court for the Western District of Missouri, Case Number 18-3170, and subsequently

filed an first Amended Complaint on or about July 15, 2019, where Hancock sued Sheriff Arnott,

and Sheriff Arnott’s employees Denny, Coonrod, Johnson, and Howell, in their official capacity,

Greene County, Missouri, ACH, and ACH medical staff Dr. Jason Wilkins and nurse Eric

Partenheimer. Ex. D; Ex. O.

       12.     On or about June 6, 2018 Anthony Porter (Porter) filed suit in the United States

District Court for the Western District of Missouri, Case Number 18-4114, and subsequently filed

amended pleadings, ending in a second Amended Complaint filed on or about July 19, 2019, where

Porter sued Sheriff Arnott in his official capacity, Greene County, Missouri, ACH, and ACH

medical staff Dr. Jason Wilkins and nurse Solita Massie. Ex. E; Ex. P.

       13.     On or about July 2, 2018 Courtney Blade (Blade) filed suit in the United States

District Court for the Western District of Missouri, Case Number 18-3212, and subsequently filed

amended pleadings, ending in a second Amended Complaint filed on or about July 15, 2019, where

Blade sued Sheriff Arnott in his official capacity, Greene County, Missouri, ACH, and ACH

medical staff Dr. Jason Wilkins. Ex. F; Ex. Q.

        14.    All the allegations and claims in each of the cases filed by Hancock, Porter, and

Blade (the Lawsuits) were directed equally at all of the defendants without any separation of counts

or delineation of any kind between the defendants. Exs.D-F; Exs. O-Q.


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       15.      All the claims in the Lawsuits arose from and related to medical diagnosis and

treatment that ACH made through its medical staff at the GCJ. Exs. D-F, O-Q.

       16.      Hancock’s lawsuit in essence claimed that while under the care of Dr. Wilkins and

other ACH medical staff at the GCJ that he suffered from a serious medical need for treatment

related to a hernia, degenerative arthritis, and severe back pain, and was denied necessary treatment

while an inmate. Ex. D; Ex. O.

       17.      Porter’s lawsuit in claimed that while under the care of Dr. Wilkins and other ACH

medical staff at the GCJ he suffered from a serious medical need for treatment related to an oral

cyst and was denied necessary treatment while an inmate. Ex. E; Ex. P.

       18.      Blade’s lawsuit in essence claimed that while under the care of Dr. Wilkins and

other ACH medical staff at the GCJ he suffered from a serious medical need for treatment related

to an eye condition and was denied necessary treatment while an inmate. Ex. E; Ex. 27.

       19.      Hancock, Porter, and Blade each claimed in the Lawsuits that their preferred

treatment was medically necessary and not provided while they were inmates under the care of Dr.

Wilkins and other ACH medical staff at the GCJ. Exs. D-F, O-Q.

       20.      The Lawsuits were consolidated, sua sponte, because “the cases involve common

questions of fact and law and, furthermore…arise out of acts occurring in the Greene County

Justice Center.” Michael D. Hancock v. Jim Arnott, et al., 18-03170, Doc. 6.

             ACH Determined Appropriate Inmate Medical Care of Hancock, Porter, and Blade

       21.      ACH, through Dr. Wilkins and other medical staff that it provided, determined the

appropriate medical care for Hancock, Porter, and Blade while they were inmates at the GCJ.

       22.      To the extent that Hancock, Porter, or Blade were not provided their preferred

medical care as alleged in the Lawsuits, this was because ACH, through its medical staff,



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determined that those inmates did not need to be provided with their preferred care while they

were inmates at the GCJ.

       23.     The ability of Hancock, Porter, and Blade to obtain their preferred medical care as

alleged in the Lawsuits depended on ACH, through staff that it provided, determining the medical

necessity of that care.

       24.     Under the Scope of Services, General Nature portion of the Agreement, ACH had

a duty to “provide all inmate medical treatment and treatment recommendations that it believes to

be medically necessary and within its professional capabilities to provide, and the Sheriff,

including his respective employees…shall rely on [ACH[ to provide such medical treatment and

treatment recommendations.” Ex. A, ACH 000035.

       25.     The Agreement included, but was not limited to, that ACH must provide a Medical

Doctor who would “serve as the GCJ’s medical director and as such, will be responsible for all

medical decisions regarding inmates at the facility…” Ex. A, ACH 000036.

       26.     The Agreement included, but was not limited to, that ACH must provide nursing

services at the GCJ. Ex. A, ACH 000036.

       27.     The Agreement included, but was not limited to, that the “Contractor will employ

a medical records clerk who will, at a minimum, manage and maintain the medical records on each

inmate who had received healthcare services at the GCJ…” Ex. A, ACH 000038.

       28.     The Agreement included, but was not limited to, that ACH would “…assist the

Sheriff in drafting and implementing GCJ-specific medical policies, procedures, and protocols on

the National Commission on Correctional Health Care (NCCHC) and American Correctional

Association (ACA) standards and the GCJ’s capabilities. Such policies, procedures, and protocols

will at all times be the property of the Sheriff, and the Contractor shall be responsible for following

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all applicable medical and non-medical policies of the Sheriff…[and][t]he Contractor shall be

responsible for maintaining the GCJ’s NCCHC accreditation…” Ex. A, ACH 000035.

       29.     The Agreement included, but was not limited to, that ACH “will provide the Sheriff

with a comprehensive strategic plan, peer review of the medical staff provided by the

Contractor,…utilization management, and a risk management program specific to the GCJ’s

operations. In addition the Contractor will attend regularly scheduled Continuing Quality

Improvement (CQI) with the Sheriff and/or his personnel during which all healthcare reports

concerning the overall operation of the healthcare services program and the general health of the

inmates at the facility will be reviewed and discussed.” Ex. A, ACH 000037.

       30.     The Agreement included, but was not limited to, that “[t]he Parties acknowledge

that the Sheriff must rely on the Contractor’s medical judgment in determining when treatment for

an inmate is medically necessary and reasonable.” Ex. A, ACH 000045.

       31.     The Agreement included, but was not limited to, that “the Sheriff shall rely on the

Contractor to provide all expert opinions regarding the medical condition and medically necessary

treatment of all inmates at the GCJ, including that the Contractor shall be solely responsible for

determining whether or not an inmate is medically fit for confinement.” Ex. A, ACH 000035.

         ACH’s Duties to Procure Insurance Coverage, Defend, Indemnify, and Hold Harmless

       32.     ACH represented, and continues to represent, that it protects public offices, entities,

and staff affiliated with detention facilities when inmates allege injury arising out of or in

connection with ACH providing inmate medical services at those facilities.

       33.     The Agreement required that ACH would procure insurance coverage for, defend,

hold harmless, and indemnify Plaintiff and their staff as to all injury claims arising by reason of



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any act of ACH or its personnel related to the services provided under the Agreement, regardless

of any negligence, fault, or lack thereof of ACH. Ex. A, § 2.1, 2.3, ACH 000046.

       34.      The terms “insurance,” and “defend,” and “indemnify,” and “hold harmless,” are

not synonyms.

       35.      ACH had a duty to provide insurance coverage for Plaintiff and their staff, name

them as an additional insured, and to provide proof of coverage. Ex. A, § 2.1, 2.3-2.8, ACH

000046-47.

       36.      ACH agreed, represented, and warranted that it would procure insurance coverage:

       Without limiting the Contractor’s indemnification obligations, the Contractor shall
       procure and maintain, at its sole cost and for the duration of this Agreement,
       insurance coverage as provided herein, against all claims for injuries against
       persons or damages to property which may arise from or in connection with the
       Contractor providing the services contemplated in this Agreement. The Contractor
       will name the Sheriff and the County, including their respective employees,
       agents, attorneys, successors, and assigns, as additional insured under the
       commercial automobile, commercial general, and professional liability portions of
       insurance, as well as provide the County and Sheriff with a Certificate of
       Insurance SPECIFIC TO CORRECTIONAL FACILTIES AND PUBLIC
       ENTITIES evidencing the terms of the insurance coverage and policy limits. Each
       such policy MUST INCLUDE LANGUAGE TO THE EFFECT THAT THE
       LISTING AS ADDITIONAL INSUREDS SHALL NOT BE CONSTRUED AS
       WAIVING THEIR RESPECTIVE RIGHTS OR DEFENSES WITH
       REGARD TO APPLICABLE SOVEREIGN, GOVERNMENTAL OR
       OFFICIAL IMMUNITIES AND ANY OTHER PROTECTIONS OR
       DEFENSES          AS     PROVIDED          BY      FEDERAL        AND       STATE
       CONSTITUTIONS, STATUTES, AND LAWS, AND THE PROCURMENT
       AND MAINTENANCE OF INSURANCE SHALL NOT BE CONSTRUED
       AS WAIVING SUCH PROTECTIONS OR DEFENSES. The Contractor
       expressly warrants that such insurance will cover the Sheriff and the County,
       including their respective officers, employee, agents, attorneys, successors, and
       assigns, as well as cover the Contractor and the individuals, entities, employees,
       independent contractors, successors, agents, and assigns through the Contractor
       shall act to provide the services detailed herein, and in the event that there is no
       such coverage, the Contractor shall defend, indemnify, and hold harmless the
       Sheriff and the County, and their respective officers, employees, agents,
       attorneys, successors, and assigns.


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          The Contractor shall not provide the services required by this Agreement until it
          has obtained all insurance required by this Agreement, where the Contractor must
          submit proof of said insurance which has been approved by the Sheriff. All policies
          shall be from companies authorized to issue insurance in the State of Missouri and
          shall be in the designated amounts (where specified), and from companies
          satisfactory to the Sheriff, and which must carry an A-6 or better rating as listed in
          the A.M. Best or equivalent rating guide. The Contractor’s inability to perform the
          services required by this Agreement due to failure to procure approved insurance
          shall not excuse performance, and will constitute a breach of this Agreement. Any
          notice cancellation of insurance shall be given in writing to eh Sheriff in the manner
          in which notices are required by this Agreement. The Contractor shall assume all
          responsibility for deductible amounts from such insurance and shall indemnity and
          hold the Sheriff and the County harmless therefrom. In addition, the Contractor
          shall reimburse the Sheriff of the County for any damage done to their respective
          property which occurred during performance of the Agreement.



Ex. A, § 2.3, ACH 000046-47 (bold all-caps emphasis included; bold underlined italic emphasis

added).

          37.    The Agreement included, but was not limited to, that “[t]he Contractor shall

maintain such comprehensive general liability insurance as shall protect the Contractor from

claims for damages from personal injury including accidental death, as well as from claims for

property damages, which may arise from the Contractor providing services under this Agreement.

The insurance carried by the Contractor shall name the Sheriff and the County, and their respective

officers, employees, agents, attorneys, successors, and assigns, as additional insureds in amounts

sufficient to cover the sovereign immunity limits for Greene County and said insurance shall not

be less than $1,000,000.00 per occurrence and $3,000,000.00 in aggregate, covering both bodily

injury and property damage, including accidental death. Ex. A, § 2.4, ACH 000047.

          38.    The Agreement included, but was not limited to, that ACH represented it would

maintain Professional Liability Insurance covering errors and omissions of not less than

$1,000,000.00 per occurrence and $3,000,000.00 annual aggregate. Ex. A, § 2.7, ACH 00047.


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       39.        The Agreement included, but was not limited to, that ACH represented “[t]he

Contractor shall furnish the Sheriff and the County with Certificate(s) of insurance which name

the Sheriff and the County, and their respective officers, employees, agents, attorneys, successors,

and assigns as additional insureds in the amounts sufficient to cover sovereign immunity limits for

Missouri public entities as calculated by the Missouri Department of Insurance, financial

institutions, professional registration, and published annually in the Missouri Register, pursuant to

Section 537.610, RSMo. or as amended, and at least in the amounts specified in the this

Agreement, whichever is higher. Each Party shall require a thirty (30) day mandatory cancellation

notice. Ex. A, § 2.8, ACH 000047.

       40.        The Agreement required that, in the event that ACH failed to provide insurance

coverage to Plaintiff and their staff, that ACH would defend, indemnify, and hold harmless

Plaintiff and their staff. Ex. A, § 2.3, ACH 000047.

       41.        As between Plaintiff and ACH, by agreeing to hold Plaintiff harmless, ACH

accepted liability as to any claims losses, damages, including reasonable attorneys’ fees and other

costs of litigation, and expenses, arising by reason of any act, negligent or otherwise, of ACH or

its personnel, in relation to providing the services of the Agreement. Ex. A.

       42.        As between Plaintiff and ACH, by agreeing to indemnify Plaintiff, ACH promised

to make payment to Plaintiff for claims losses, damages, including reasonable attorneys’ fees and

other costs of litigation, and expenses, arising by reason of any act, negligent or otherwise, of ACH

or its personnel, in relation to providing the services of the Agreement and the medical detailed

therein. Ex. A.

                                September 7 and November 5, 2018 Letters



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        43.     Plaintiff notified ACH of the Lawsuits and that they had been consolidated in a

certified letter dated September 7, 2018 demanding that ACH defend, hold harmless, and

indemnify Plaintiff, either directly or through its insurers, as ACH had represented that it would

do, and as required by the Agreement. Exs. C, G, I.

        44.     Good faith required that ACH promptly consider all of the allegations in the

Lawsuits, and ACH’s representations, and ACH’s obligations under the Agreement.

        45.     Nearly two months after sending the September 7, 2018 letter, Plaintiff sent another

a letter dated November 5, 2018 to ACH, reporting that summonses in the Lawsuit had been issued

and again demanding a defense. Ex. H.

        46.     ACH did not answer Plaintiff’s September 7 or November 5, 2018 letters until

November 20, 2018. Ex. I.

        47.     ACH retained “Western Litigation” to respond to Plaintiff’s September 7 and

November 5, 2018 letters on its behalf. Ex. I.

        48.     Western Litigation responded on behalf of ACH to the September 7 and November

5, 2018 letters. Ex. I.

        49.     Western Litigation was authorized by ACH to act on its behalf in a letter dated

November 20, 2018 responding to Plaintiff’s September 7 and November 5, 2018 letters. Ex. I.

        50.     ACH adopted the positions taken by Western Litigation in a letter dated November

20, 2018 responding to Plaintiff’s September 7 and November 5, 2018 letters. Ex. I.

        51.     ACH and/or its insurers retained or authorized Western Litigation to manage the

Hancock, Porter, and Blade claims and Lawsuits. Ex. I.

        52.     ACH was prohibited from assigning the services it was required to provide under

the Agreement without the express prior written approval of the Sheriff. Ex. A, § 5.6, ACH 000052.



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         53.    ACH and it’s insurers, through Western Litigation, took the position that there was

no possibility of insurance coverage for Plaintiff as to the allegations in the Lawsuits. Ex. I.

         54.    ACH and its insurers, through Western Litigation, took the position that it would

forward Plaintiff’s demand to another insurer, but did not expect there to be coverage. Ex. I.

         55.    ACH either did not obtain insurance for Plaintiff and their staff or else failed to

forward Plaintiff’s demands to the appropriate insurer(s). Ex. I.

         56.    ACH either did not name Plaintiff and their staff as an additional insured or else

failed to forward Plaintiff’s demands to the appropriate insurer(s). Ex. I.

         57.    Neither ACH, nor Western Litigation, retained or offered to provide legal counsel

to defend Plaintiff or their staff in the Lawsuits. Ex. I, p.2.

         58.    ACH either directly or through Western Litigation, retained legal counsel to defend

ACH and ACH’s staff in the Lawsuits. Ex. I, p.2.

         59.    ACH took the position it did not have a duty to defend or indemnify Plaintiff and

expressly stated: “…Advanced Correctional Healthcare respectfully declines your tender of

defense and request for indemnification…” Ex. I, p. 2 (emphasis added).

         60.    ACH did not consider, or deliberately disregarded, the nature of the allegations in

the Lawsuits when determining not to defend, hold harmless, or indemnify Plaintiff or their staff.

Ex. I.

         61.    ACH did not consider, or deliberately disregarded, the representations it had made

in soliciting business, and in the Agreement, when determining not to insure, name Plaintiff as an

additional insured, provide proof of coverage, forward Plaintiff’s demands to the appropriate

insurer, defend, hold harmless, or indemnify Plaintiff or their staff and did not perform those

obligations. Ex. I.



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           62.   ACH took the position that the allegations and claims in the Lawsuits did not arise

from or in connection with any of its services described in the Agreement. Ex. I.

           63.   ACH tried to distance itself from the allegations and claims in the Lawsuits by

suggesting that they regarded only financial matters and outside care providers, and: “[a]fter

reviewing the complaints it is clear that all three inmates in these Complaints are alleging they

were advised they could not have outside medical care unless they paid for the medical care.” Ex.

I, p.1.

           64.   The claims alleged in the Lawsuits plainly arose out of and related to inmate

medical care provided by ACH at the GCJ, because ACH determined whether outside medical

care was needed. See e.g. Ex. A, ACH 000035; Exs.D-F; Exs. O-Q.

           65.   ACH took the position that, “Without going through each and every allegation

noted in these Complaints, at this juncture it is clear that there are specific separate allegations

against the County and Sheriff with regard to the policy requiring payment of medical services and

authorization of deduction of funds for payment of medical care form the prisoner accounts.” Ex.

I, p. 1.

           66.   The claims in the Lawsuits were directed equally at all the defendants, without

separate allegations or delineation of different counts or legal theories. Exs.D-F; Exs. O-Q.

           67.   ACH asserted that the allegations and claims in the Lawsuits did not arise from or

in connection with the services that ACH was required to provide under the Agreement because

“…neither ACH nor any of the employed staff in these matters had any involvement in the creation

of rules and regulations related to the payment for outside medical providers and/or outside

medical services for non-urgent, non-emergent care.” Ex. I, p. 1-2.




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       68.       ACH was required to, and did, assist in drafting and implementing policies,

procedures, protocols, and plans specific to the GCJ. Ex. A, ACH 000035, 37, 45.

       69.       ACH asserted that the allegations in the Lawsuits did not arise from or in

connection with the services that ACH was required to provide under the Agreement because ACH

and its staff did not have “… any role in determining who pays for medical treatment.” Ex. I, p. 1-

2.

       70.       ACH was required to make determinations as to the necessity for inmate medical

care as part of the services they provided to Plaintiff. Ex. A; Ex. I.

       71.       ACH was required to assess inmate medical conditions, make treatment

recommendations, and provide necessary medical treatment without additional payment when

such treatment was within the professional capabilities of ACH staff. Ex. A, Scope of Services-

General Nature, ACH 000035.

       72.       Contrary to ACH’s argument that its personnel played no role in making decisions

that impacted payment for medical treatment, the Agreement required that ACH must assess

whether an inmate’s preferred treatment was elective or non-elective. Ex. A, Elective Care, ACH

000037; Ex. I.

       73.       Contrary to ACH’s argument that ACH staff played no role in determining payment

for inmate medical treatment, the Agreement required that if an inmate required medical treatment

which was outside of the professional capabilities of ACH staff, then it must notify Plaintiff and

arrange for the required care. Ex. A, Scope of Care, ACH 000036.

       74.       The Agreement included, but was not limited to, that ACH “shall provide medical

services through competent medical personnel at the GCJ, and …shall refer and coordinate any

medical services that is specialized treatment and beyond the Contractor’s professional capabilities



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to outside care providers….[and] shall provide all inmate medical treatment and treatment

recommendations that it believes to be medically necessary and within its professional capabilities

to provide, and the Sheriff, including his respective employees, agents, attorneys, successors, and

assigns, shall rely on the Contractor to provide such medical treatment and treatment

recommendations.” Ex. A, ACH 000035.

       75.     The Agreement included, but was not limited to, that ACH “shall conduct the

medical screening portion of all inmate intakes. The Contractor shall also examine each inmate

that appears to suffer from any medical issue that could render such inmate not fit for confinement

and determine whether such inmate is medically fit for confinement, and promptly notify and

advise GCJ staff of that determination. The Contractor shall also coordinate to provide or arrange

for all medically necessary treatment that must be provided off-site from the GCJ.” Ex. A, ACH

000036.

       76.     The Agreement included, but was not limited to, that ACH “shall plan to provide,

and provide, pharmaceuticals including prescription medications, prescribed over-the-counter

medications, and psychotropic medications, which are medically necessary and appropriate and

age for the uniqueness of a correctional environment, to all inmates held at the GCJ, where the

Contractor believes to a reasonable degree of medical certainty within the applicable standard of

care that medication is necessary to treat a life threatening condition, and also where an inmate is

exhibiting symptoms of a disorder that impairs functioning or mental health, so that medication is

necessary. Ex. A, ACH 000036.

       77.     The Agreement included, but was not limited to, that “[i]f in the Contractor’s

opinion an inmate requires medical treatment that is beyond the Contractor’s professional abilities,

such as for example, complicated surgical intervention, the Contractor shall take such steps as it


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believes are medically necessary to provide treatment, including referral to an appropriate off-site

or outside emergency medical provider. In case of such need, the Contractor shall immediately

notify GCJ staff, which will make arrangements for the transportation of the inmate to the preferred

provider.” EX. A, ACH 000036.

       78.     The Agreement included, but was not limited to, that “the Contractor will not be

responsible for providing elective care to inmates. ‘Elective care’ is care which, if not provided,

would not, in the opinion of the Contractor, cause the inmate’s health to deteriorate, or cause harm

to the inmate’s well-being. Decisions concerning elective care should be consistent with applicable

American Medical Association (AMA) standards. The Parties expressly acknowledge that the

Sheriff must rely on the Contractor to provide all expert medical opinions, including that the

Contractor shall be solely responsible for determining whether or not care is elective or medically

necessary (non-elective).” Ex. A, ACH 000037.

       79.     The Agreement included, but was not limited to, that “When medically necessary

services are beyond the professional ability of the Contractor to provide on-site at the GCJ, the

Contractor will arrange for those services off-site. Off-site services may include medically

necessary specialist consultation, testing, and treatment, such as, but not limited to, laboratory,

radiological, electrocardiogram (EKG) testing, surgical intervention, and dialysis.” Ex. A, ACH

000038-39.

       80.     The Agreement included, but was not limited to, that “The Contractor shall

determine whether what would otherwise be a personal need item is medically necessary under the

specific circumstances applicable to an individual inmate, and the Contractor shall timely notify

the Sheriff of any such determination, and the Contractor shall either administer the medically

necessary treatment or make the necessary referral and arrangements for such treatment to be

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provided….For illustration purposes only, the Contractor shall be responsible for determining

whether it is medically necessary for any inmate to be placed on a special diet, such as a liquid

diet, and for timely advising the Sheriff of that medical necessity, and if medically necessary, for

administering or procuring the necessary care…” Ex. A, ACH 000039.

       81.     The Agreement included, but was not limited to, that “[t]he Contractor will be the

sole prescribing authority for inmates held at the GCJ, and will determine whether all inmate

medications are medically necessary to a reasonable degree of medical certainty, consistent with

eh applicable standard of care.” Ex. A, ACH 000037.

       82.     The Agreement included, but was not limited to, that “…as the sole prescribing

authority in the GCJ, and as part of a holistic approach to inmate medical concerns, the Contractor

shall coordinate with mental health staff professionals employed at the GCJ, and shall participate

in treatment team meetings with mental health staff, and meaning an open communication with

mental health staff regarding those inmates that claim or appear to be suffering from mental health

issues, so that the Contractor will be in a position to determine to a reasonable degree of medical

certainty whether medication must be prescribed to trat a life threatening condition, or because an

inmate is exhibiting symptoms of a disorder that impairs functioning or mental health, so that

medication is medically necessary, and the Contractor shall make all such determinations.” Ex. A,

ACH 000037-38.

       83.     The Agreement included, but was not limited to, that ACH “…shall…provide

dental triage screenings in accordance with criteria established by a licensed dentist for the purpose

of identifying inmates in need of serious dental services. When medically necessary, the Contractor

will coordinate off-site dental care…” Ex. A, ACH 000038.



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       84.     In asserting that it had no obligation to insure, defend, hold harmless, or indemnify

Plaintiff with respect to the Lawsuits, ACH tried to distance itself from the allegations and claims

in the Lawsuits by mischaracterizing the law, stating, “… as you are aware, Missouri law does not

require anyone but the prisoner to pay for medical care.” Ex. I, p. 1-2.

       85.     ACH represented before and during the Agreement, and continues to represent, that

it is highly experienced in the area of inmate medical care.

       86.     The Agreement expressly included ACH’s representation that “[t]he Contractor is

in the business of supplying medical services to jails and other correctional facilities…” Ex. A,

ACH 000044.

       87.     The Agreement expressly included ACH’s representation that “[b]y executing this

Agreement, Contractor warrants that Contractor (i) has thoroughly investigated and considered the

scope of service to be performed, (ii) has carefully considered how the services should be

performed, and (iii) fully understands the facilities, difficulties, and restrictions attending

performance of the services under this Agreement.” Ex. A, ACH 000045.

       88.     The Agreement expressly included that: “[b]y executing this Agreement, the

Contractor warrants that the Contractor has experience in providing medical services to jails and

correctional facilities, and will utilize qualified and competent medical professionals to perform

its obligations under this Agreement.” Ex. A, ACH 000039.

       89.     At all times relevant, provision of inmate medical care has been governed primarily

by well-established federal law that inmates must be provided with required treatment for serious

medical needs regardless of their ability to prepay for it, and Missouri law is consistent in that

regard, and describes that required care “shall” be provided, while also providing that ultimate



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financial liability for all medical care is on the inmate. Cf. Ex. I and e.g. Dulany v. Carnahan, 132

F.3d 1234 (8th Cir. 1997); § 221.120, RSMo.

        90.       ACH took the position that it did not have to insure, defend, hold harmless, or

indemnify Plaintiff in relation to the Lawsuits because ACH was not obligated to “to indemnify or

hold harmless the Sheriff or the County from their own negligence.” Ex. I, p. 1.

        91.       ACH’s position that it was not obligated to “indemnify or hold harmless the Sheriff

or the County from their own negligence,” completely disregards ACH’s additional, and different,

duties to insure and defend.

        92.       ACH’s position that it was not obligated to “indemnify or hold harmless the Sheriff

or the County from their own negligence,” also disregards the plain-meaning of the full text of the

provision it quoted from the Agreement, which even in isolation from the rest of the Agreement

states in full:

        To the fullest extent permitted by law, the Contractor shall hold harmless and
        indemnify the Sheriff and the County, including their respective employees, agents,
        attorneys, successors, and assigns, against any claims, losses, damages, including
        reasonable attorneys’ fees and other costs of litigation, and expenses, arising by
        reason of any act, negligent or otherwise, of the Contractor or its personnel,
        including the individuals, entities, employees, independent contractors,
        subcontractors (meaning anyone, including but not limited to consultants having a
        contract with the Contractor or a subcontract for part of the services), successors,
        agents, and assigns through which the Contractor shall act in relation to providing
        the services detailed herein, including anyone directly or indirectly employed by
        the Contractor or by any subcontractor, or of anyone for whose acts the Contractor
        or its subcontractor may be liable, in connection with providing these services, and
        related to the medical services detailed herein. This provision does not, however,
        require the Contractor to indemnify or hold harmless the Sheriff or the County from
        their own negligence.

Exhibit A, § 2.1, ACH 00046. (emphasis added).

        93.       ACH’s position that it was not obligated to “indemnify or hold harmless the

Sheriff or the County from their own negligence,” also disregards the plain-meaning of the

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Agreement as a whole, and ACH’s failure to provide insurance coverage required that ACH

“defend, indemnify, and hold harmless the Sheriff and the County, and their respective

officers, employees, agents, attorneys, successors, and assigns.” Ex. A, § 2.3, ACH 000046.

        94.     The Agreement required that ACH would insure, defend, hold harmless, and

indemnify Plaintiff and their staff “against all claims for injuries against persons…which may arise

from or in connection with [ACH] providing the services contemplated in this Agreement.” Ex. A,

§ 2.3, ACH 000046 (emphasis added).

        95.     ACH’s position that it did not have any duty to Plaintiff because it did not have to

“indemnify or hold harmless the Sheriff or County from their own negligence” also disregards the

allegations in the Lawsuits, and depends on interpreting the Lawsuits as if they assert nothing but

claims of negligence on the part of Plaintiff, to the exclusion of any other “claims for injuries”

arising out of or related to the services that ACH was required to provide.

        96.     ACH’s position that it was not obligated to insure, defend, hold harmless, or

indemnify Plaintiff in the Lawsuits was counter to the representations that it made, and continues

to make, in soliciting public offices and entities, such as Plaintiff, into utilizing its services.

        97.     ACH’s position that it was not obligated to insure, defend, hold harmless, or

indemnify Plaintiff in the Lawsuits disregarded the Agreement as a whole.

                          December 3, 2018 and October 21, 2019 Letters

        98.     On December 3, 2018 Plaintiff again demanded that ACH meet its obligations with

respect to the Lawsuits. Ex, J.

        99.     On October 21, 2019 Plaintiff again demanded that ACH meet its obligations with

respect to the Lawsuits. Ex. K.




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       100.    Good faith required that ACH promptly consider all of the allegations in the

Lawsuits, and ACH’s representations, and ACH’s obligations under the Agreement, and to respond

to the December 31, 2018 and October 21, 2019 letters, but it did not.

                        Summary Judgment and the June 18, 2021 Letter

       101.    Summary judgment was granted on March 30, 2021 in favor of all the defendants

in the Lawsuits. Ex. L, pgs 1, 27.

       102.    Summary judgment in the Lawsuits was predicated on the undisputed fact that

“ACH provided inmate medical services at Greene County through Jason Wilkins, M.D., a license

physician, and other medical professionals.” Ex. C, p. 4.

       103.    Summary judgment in the Lawsuits was predicated on the undisputed fact that

“ACH also assisted in drafting and implementing specific medical policies and maintaining the

appropriate standards and accreditation for such policies.” Ex. C, p. 4.

       104.    Summary judgment was granted in favor of all the defendants in the Lawsuits based

on the sufficiency of medical care that ACH provided to Hancock, Porter, and Blade. See e.g. Ex.

C, p. 5-14.

       105.    In granting summary judgment in the Lawsuits, that court specifically held that

“[w]hile this Court finds that Hancock had a serious medical need with regard to his hernia, the

evidence does not support that the treatment he received was inadequate. Here, Dr. Wilkins

remained free to exercise he independent medical judgment that the hernia repair surgery did not

need to be immediately scheduled. While Hancock was a candidate for the elective repair, there is

no evidence of medical malpractice, let alone indifference, and it appears Defendants responded

reasonably to the risk by monitoring his hernia for changes.” Ex. C, p. 20-21.




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        106.    In granting summary judgment in the Lawsuits, that court specifically held that

“[e]ven if Porter’s cyst rises to the level of a serious medical need, Porter has failed to establish a

constitutional violation based on the treatment he received while at Greene County…. Porter was

seen multiple times by Dr. Wilkins and ACH medical staff …[and] was provided with medical

care and treatment and cannot establish deliberate indifference based on the standard set forth

herein.” Ex. C, p. 25.

        107.    In granting summary judgment in the Lawsuits, that court specifically held that

“[r]egardless of the dispute over whether Blade had the funds to pay for the appointment, the issue

before the Court is whether Defendants’ failure to send Blade to an ophthalmologist constitutes a

§ 1983 violation. First, there is no evidence to support that Blade’s complaints of seeing floaters

constituted a serious medical need. Further, even if it does constitute a serious medical need, there

is no evidence Defendants failed to provide treatment or that he required different treatment that

rises tot eh level of deliberate indifference.” Ex. C, p. 24.

        108.    It would defy logic to assert that the claims in the Lawsuits did not arise out of or

relate to the services that ACH was required to provide in the Agreement.

        109.    Hancock, but not Porter or Blade, appealed the grant of summary judgment to the

Eighth Circuit Court of Appeals, and said appeal is still pending.

        110.    Plaintiff sent a letter dated June 18, 2021 including demands that ACH reconsider

its previous denials and that ACH provide a defense in the Hancock appeal. Ex. M.

        111.    Good faith required that ACH promptly consider all of the allegations in the

Lawsuits, and ACH’s representations, and ACH’s obligations under the Agreement, and to respond

to the June 18, 2021 letter, but it did not.




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         112.   ACH responded to the July 18, 2021 letter approximately three weeks later, on or

about July 7, 2021. Ex. N.

         113.   In its July 7, 2021 response, ACH erroneously asserted that the Agreement only

required ACH to insure and indemnify Plaintiff for “vicarious liability” claims, and that the

Lawsuits “did not attempt to make the Sheriff or County vicariously liable for the actions of ACH.”

Ex. N.

         114.   ACH’s theory that it was only required to insure and indemnify Plaintiff from

“vicarious liability” claims disregards the plain-meaning of the Agreement.

         115.   The Agreement does not say that ACH only has to insure Plaintiff for “vicarious

liability” claims. Ex. A.

         116.   The Agreement does not excuse ACH from having to provide Plaintiff with a

defense based on whether the asserted claims include “vicarious liability” theories. Ex. A.

         117.   The Agreement does not excuse ACH from having to hold harmless Plaintiff based

on whether the asserted claims include “vicarious liability” theories. Ex. A.

         118.   The Agreement does not say that ACH only must indemnify Plaintiff for “vicarious

liability” claims. Ex. A.

         119.   ACH’s duty to insure, defend, hold harmless, and indemnify Plaintiff, is not even

restricted to just claims, and also includes “…losses, damages, including reasonable attorneys’

fees and other costs of litigation, and expenses…” Ex. A, § 2.1, ACH 00046.

         120. “Vicarious liability” claims are merely a subset of “…claims, losses, damages,

including reasonable attorneys’ fees and other costs of litigation, and expenses, arising by reason

of any act, negligent or otherwise, of the Contractor or its personnel, including the individuals,

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entities, employees, independent contractors, subcontractors (meaning anyone, including but not

limited to consultants having a contract with the Contractor or a subcontract for part of the

services), successors, agents, and assigns through which the Contractor shall act in relation to

providing the services detailed herein, including anyone directly or indirectly employed by the

Contractor or by any subcontractor, or of anyone for whose acts the Contractor or its subcontractor

may be liable, in connection with providing these services, and related to the medical services

detailed herein.” Ex. A, § 2.1, ACH 00046.

       121.    “Vicarious liability” claims are merely a subset of “all claims for injuries against

persons or damages to property which may arise from or in connection with the Contractor

providing the services contemplated in this Agreement.” Ex. A, § 2.3, ACH 000046.

       122.    ACH’s position is essentially that it was only required to insure and indemnify

Plaintiff as to legally impossible claims, making these protections illusory, because most inmate

claims (in addition to inmate alleged losses, damages, etc.) against public offices and entities,

such as Plaintiff, are brought pursuant to 42 U.S.C. § 1983, and it is well-established law that there

is no vicarious liability under § 1983. See Szabla v. City of Brooklyn Park, 486 F.3d 385, 397 (8th

Cir.2007)(no respondeat superior liability under § 1983, and no liability merely because official

employs the individual who allegedly violated the plaintiff’s constitutional rights).

       123.    Interpreting the Agreement to only protect Plaintiff from “vicarious liability”

claims would also make those protections illusory in the context of Missouri law, because most

claims (including those based on vicarious liability) against public offices and entities, such as

Plaintiff, are barred by sovereign immunity. See e.g. State ex rel. Blue Springs Sch. Dist. v. Grate,

576 S.W.3d 262 (Mo. App. 2019).




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       124.    In its June 18, 2021 response, ACH erroneously asserted that the Lawsuits were “a

direct challenge to the Missouri statute, RSMo § 221.120…” Ex. N.

       125.    ACH’s assertion that the Lawsuits were a “direct challenge to the Missouri statute,

RSMo § 221.120…” is blatantly incorrect, including because the most recent filed complaints in

the Lawsuits, which had been in effect since July 19, 2019, did not even mention that statute, let

alone directly challenge it. Exs. O-Q.

       126.    ACH’s assertion that the Lawsuits were a “direct challenge to the Missouri statute,

RSMo § 221.120…” also mischaracterizes the applicable law, and in essence repeats ACH’s

previous characterization that “Missouri law does not require anyone but the prisoner to pay for

medical care.” Cf. Ex. I and Ex. N.

       127.    In its June 18, 2021 response, ACH asserted that it did not have any obligation to

Plaintiff with respect to the Lawsuits because the Lawsuits were “not [based on] ACH’s actions

…” Ex. N, p.2.

       128.      In its June 18, 2021 response, ACH asserted that it did not have any obligation to

Plaintiff with respect to the Lawsuits because the “claims were not that they [Hancock, Porter, and

Blade] were mistreated…” Ex. N, p.3.

       129.    Hancock, Porter, and Blade, pretty clearly alleged that they were mistreated by

ACH through its medical staff at the GCJ. Ex. O-Q.

       130.    All of the medical care provided to Hancock, Blade, and Porter in relation to the

Lawsuits was provided by or on the recommendation of ACH and its staff.

       131.    ACH recognized, and admitted, that the medical care that it provided to Hancock,

Blade, and Porter entitled all the defendants, including Plaintiff, to summary judgment in the

Lawsuits. Ex. N, p.3.

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       132.     In its June 18, 2021 response, ACH asserted that it did not have any obligation to

Plaintiff with respect to the Lawsuits because the Lawsuits were “not [based on] ACH’s actions or

policies…” Ex. N, p.2.

       133.    The services that ACH was required to provide in the Agreement included assisting

in drafting and implementing policies, procedures, protocols, and plans specific to the GCJ. Ex.

A.

       134.    Plaintiff has performed all obligations required under the Agreement.

       135.    ACH has failed to insure, name as an insured, provide proof of coverage, defend,

hold harmless, or indemnify Plaintiff in relation to the Lawsuits and the Hancock appeal.

       136.    Plaintiff has expended substantial amounts of time and resources, attorneys fees,

and costs, in excess of $25,000.00 in defending against the Lawsuits and the Hancock appeal.

       137.    ACH’s breach of duties, including those to insure, name as an additional insured,

provide proof of insurance, defend, hold harmless, and indemnify entitle Plaintiff to damages

including all attorneys’ fees and costs expended in the defense of the Lawsuits, including the as-

yet-indeterminate amounts expended in relation to Hancock’s pending appeal, and those incurred

in the prosecution of this case.

       138.    Plaintiff is also entitled attorneys’ fees and costs expended in the defense of the

Lawsuits, including the as-yet-indeterminate amounts expended in relation to Hancock’s pending

appeal, and those incurred in the prosecution of this case, pursuant to the Attorneys’ Fees provision

of the Agreement. Ex. A, § 3.17, ACH 000050.




       WHEREFORE Plaintiff(s) pray this honorable Court enter a judgment against Defendant

Advanced Correctional HealthCare, Inc., declaring that ACH was and is required to insure, defend,

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hold harmless, and indemnify Plaintiff and their staff as to the Lawsuits, and the Hancock appeal,

and the damages, attorneys’ fees, and costs of each of those proceedings and the current action,

and to award same, plus pre- and post-judgment interest, and for all such other and further relief

this Court deems just and proper under the premises.



                                             Respectfully submitted,
                                             KECK & PHILLIPS, L.L.C.

                                             By       /s/ Damon S. Phillips
                                                  Damon S. Phillips #52901
                                                  3140 E. Division
                                                  Springfield, MO 65802
                                                  Telephone: (417) 890-8989
                                                  Facsimile: (417) 890-8990
                                                  Email: damon@kpwlawfirm.com
                                                  Attorneys for Plaintiffs




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15 January 2019

VIA US MAIL PREPAID CERTIFIED RETURN RECEIPT REQUESTED
ATTN: COUNTY REPRESENTATIVE: CHRIS MERICLE
Greene County
Purchasing Department
933 N. Robberson
Springfield, MO 65802

       Re:       Contract No. 17-819

County Representative Chris Mericle:

The above-referenced contract commenced on July 13, 2017 at 12:01 A.M. for a two-year term,
with options to renew. Accordingly, our contract with Greene County expires on July 12, 2019 at
11:59 P.M.

This letter serves as written notice pursuant to the contract that ACH desires not to renew for
subsequent contract periods. Therefore, our contract expires on July 12, 2019 at 11:59 P.M.

Thank you.

Respectfully,



Jessica Young, Esq., CCHP
President

Cc:    Damon Phillips via email only to damon@kpwlawfirm.com




                                            GCSO 1248



EXHIBIT 2
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                                   Porter v. Massie, et al.        Blade v.
Advanced Correctional Healthcare, et al.
                Hancock v. Arnott




         Enter. Bank v. Saettele




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                                          LAWYERS

                               KECK & AUSTIN
                                      3140 E. DIVISION ST.
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                                     (417) 890-8990-fax
                                Email: damon@keckaustin.com
PATRICIA KECK*                                                                   *Licensed in Missouri,
KEVIN AUSTIN                                                                      Kansas and Arkansas

Of Counsel                                                                       Associate
SEAN MCGINNIS                                                                    ADAM LI
DAMON S. PHILLIPS
MATTHEW D. WILSON                                                                Investigator
                                                                                 MARLA MILLER



                                       September 7, 2018

Via Certified Mail and Email at: sherri.miller@advancedch.com
Advanced Correctional Healthcare, Inc.
3922 West Baring Trace
Peoria, IL 61615
ATTN: Sherri Miller, Pres. and Chief Operations Officer

         Re:   Michael Hancock, et al. v. Sheriff Jim Arnott, et al., 18-3170-CV-S-MDH-P
               U.S. Dist. Court for the Western District of Missouri

Advanced Correctional Healthcare (“ACH”):

        I and this firm represent the Sheriff of Greene County, Missouri and his staff. We have
received notice of a lawsuit filed by three pro se inmates, Michael Hancock, Courtney Blade, and
Anthony Porter, regarding medical treatment at the Greene County jail, and are tendering this
case to you to provide a defense, either directly or through your insurer.

Three Complaints

       I am attaching the complaints drafted by each separate Plaintiff, and which have now
been consolidated into one case as captioned above. Plaintiffs have sued: ACH, Dr. Wilkins,
Nurse Eric Partenheimer, Nurse Massie, Sheriff Arnott, Major Denney, Captain Coonrod,
Captain Johnson, Captain Howell, the Greene County jail (not a legal entity) and the Greene
County Justice Center (also not a legal entity). Essentially, all three inmates complained about
medical treatment provided by ACH or its employees. The Sheriff and his staff were only alleged
to have refused to implement policies overriding medical treatment decisions. As you know, Dr.
Wilkins and all jail medical staff are provided by ACH pursuant to the March 23, 2017 ACH
agreement.

Status

       The Court appointed an attorney to represent all three inmates. That attorney has not
entered an appearance, and there have not been any summonses issued yet. However, the pro se
complaints survived initial judicial review, so this case will go forward.

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ACH Agreement

        I am also attaching the March 23, 2017 ACH agreement. As you know, that agreement
contained several relevant provisions, including but not limited to §§2.1, 2.3, 2.4, and 2.7, to the
effect that ACH and/or its insurer would defend, hold harmless, and indemnify our clients.
Specifically, §2.1 provided:

       To the fullest extent permitted by law, the Contractor shall hold harmless and
       indemnify the Sheriff and the County, including their respective employees,
       agents, attorneys, successors, and assigns, against any claims, losses, damages,
       including reasonable attorneys’ fees and other costs of litigation, and expenses,
       arising by reason of any act, negligent or otherwise, of the Contractor or its
       personnel, including the individuals, entities, employees, independent contractors,
       subcontractors (meaning anyone, including but not limited to consultants having a
       contract with the Contractor or a subcontract for part of the services), successors,
       agents, and assigns through which the Contractor shall act in relation to providing
       the services detailed herein, including anyone directly or indirectly employed by
       the Contractor or by any subcontractor, or of anyone for whose acts the
       Contractor or its subcontractor may be liable, in connection with providing these
       services, and related to the medical services detailed herein. This provision does
       not, however, require the Contractor to indemnify or hold harmless the Sheriff or
       the County from their own negligence.

Furthermore, §2.3 stated in full:

       Without limiting the Contractor’s indemnification obligations, the Contractor
       shall procure and maintain, at its sole cost and for the duration of this Agreement,
       insurance coverage as provided herein, against all claims for injuries against
       persons or damages to property which may arise from or in connection with the
       Contractor providing the services contemplated in this Agreement. The Contractor
       will name the Sheriff and the County, including their respective employees,
       agents, attorneys, successors, and assigns, as additional insureds under its
       commercial automobile, commercial general, and professional liability portions of
       insurance, as well as provide the County and Sheriff with a Certificate of
       Insurance SPECIFIC TO CORRECTIONAL FACILITIES AND PUBLIC
       ENTITIES evidencing the terms of the insurance coverage and policy limits. Each
       such policy MUST INCLUDE LANGUAGE TO THE EFFECT THAT THE
       LISTING AS ADDITIONAL INSUREDS SHALL NOT BE CONSRUED AS
       WAIVING THEIR RESPECTIVE RIGHTS OR DEFENSES WITH REGARD
       TO APPLICABLE SOVEREIGN, GOVERNMENTAL OR OFFICIAL
       IMMUNITIES AND ANY OTHER PROTECTIONS OR DEFENSES AS
       PROVIDED BY FEDERAL AND STATE CONSTITUTIONS, STATUTES,
       AND LAWS, AND THE PROCUREMENT AND MAINTENANCE OF
       INSURANCE SHALL NOT BE CONSTRUED AS WAIVING SUCH
       PROTECTIONS OR DEFENSES. The Contractor expressly warrants that such

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       insurance will cover the Sheriff and the County, including their respective
       officers, employees, agents, attorneys, successors, and assigns, as well as cover
       the Contractor and the individuals, entities, employees, independent contractors,
       successors, agents, and assigns through which the Contractor shall act to provide
       the services detailed herein, and in the event that there is no such coverage, the
       Contractor shall defend, indemnify, and hold harmless the Sheriff and the County,
       and their respective officers, employees, agents, attorneys, successors, and
       assigns.

       The Contractor shall not provide the services required by this Agreement until it
       has obtained all insurance required by this Agreement, where the Contractor must
       submit proof of said insurance which has been approved by the Sheriff. All
       policies shall be from companies authorized to issue insurance in the State of
       Missouri and shall be in the designated amounts (where specified), and from
       companies satisfactory to the Sheriff, and which must carry an A-6 better rating as
       listed in the A.M. Best or equivalent rating guide. The Contractor’s inability to
       perform the services required by this Agreement due to failure to procure
       approved insurance shall not excuse performance, and will constitute a breach of
       this Agreement. Any notice of cancellation of insurance shall be given in writing
       to the Sheriff in the manner in which notices are required by this Agreement. The
       Contractor shall assume all responsibility for deductible amounts from such
       insurance and shall indemnify and hold the Sheriff and the County harmless
       therefrom. In addition, the Contractor shall reimburse the Sheriff or the County
       for any damage done to their respective property which occurs during
       performance of this Agreement.


Conclusion

       Clearly, the Plaintiff’s allegations are frivolous, but our clients have the right to be
defended, held harmless, and indemnified by you or your insurer pursuant to the ACH
agreement. We encourage you to provide the necessary defense as quickly as possible.

                                            Cordially,

                                            KECK & AUSTIN, L.L.C.


                                            By/s/ Damon S. Phillips
                                                Damon S. Phillips


DSP:jh
Enclosures



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                                             LAWYERS

                                 KECK & AUSTIN
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                                      SPRINGFIELD, MO 65802
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                                        (417) 890-8990-fax
                                        Email: @keckaustin.com
PATRICIA KECK*                                                                *Licensed in Missouri,
KEVIN AUSTIN                                                                  Kansas and Arkansas

Of Counsel                                                                    Associate
SEAN MCGINNIS                                                                 ADAM LI
DAMON PHILLIPS                                                                ALEX SHEPPARD
MATTHEW D. WILSON
                                                                               Investigator
                                                                               MARLA MILLER

                                         November 5, 2018


Via Certified Mail and Email at: sherri.miller@advancedch.com
Advanced Correctional Healthcare, Inc.
3922 West Baring Trace
Peoria, IL 61615
ATTN: Sherri Miller, Pres. and Chief Operations Officer

          Re:    Michael Hancock, et al. v. Sheriff Jim Arnott, et al., 18-3170-CV-S-MDH-P
                 U.S. Dist. Court for the Western District of Missouri

Advanced Correctional Healthcare (“ACH”):

        As you know from our letter of September 7, 2018, I and this firm represent the Sheriff of
Greene County, Missouri and his staff. Again, we have received notice of a lawsuit filed by three
pro se inmates, Michael Hancock, Courtney Blade, and Anthony Porter, regarding medical
treatment at the Greene County jail, and are tendering this case to you to provide a defense,
either directly or through your insurer. The Court appointed an attorney to represent the inmates,
and a U.S. Marshal delivered summonses on Friday, November 2, 2018. We have NOT accepted
summonses as to your employees, other than for Dr. Wilkins, because he is both your employee
and a reserve deputy.

Complaints

        Plaintiffs have sued: ACH, Dr. Wilkins, Nurse Eric Partenheimer, Nurse Massie, Sheriff
Arnott, Major Denney, Captain Coonrod, Captain Johnson, Captain Howell, the Greene County
jail (not a legal entity) and the Greene County Justice Center (also not a legal entity). Essentially,
all three inmates complained about medical treatment provided by ACH or its employees. The
Sheriff and his staff were only alleged to have refused to implement policies overriding medical
treatment decisions. As you know, Dr. Wilkins and all jail medical staff are provided by ACH
pursuant to the March 23, 2017 ACH agreement.

Status




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       In light of your failure to respond to our letter from September, we have no choice but to
prepare an Answer to the Complaint. However, this is only a temporary measure before you
provide the defense.

ACH Agreement

       Please refer to the March 23, 2017 ACH agreement that you already have, and which I
also previously provided. As you know, that agreement contained several relevant provisions,
including but not limited to §§2.1, 2.3, 2.4, and 2.7, to the effect that ACH and/or its insurer
would defend, hold harmless, and indemnify our clients. Specifically, §2.1 provided:

       To the fullest extent permitted by law, the Contractor shall hold harmless and
       indemnify the Sheriff and the County, including their respective employees,
       agents, attorneys, successors, and assigns, against any claims, losses, damages,
       including reasonable attorneys’ fees and other costs of litigation, and expenses,
       arising by reason of any act, negligent or otherwise, of the Contractor or its
       personnel, including the individuals, entities, employees, independent contractors,
       subcontractors (meaning anyone, including but not limited to consultants having a
       contract with the Contractor or a subcontract for part of the services), successors,
       agents, and assigns through which the Contractor shall act in relation to providing
       the services detailed herein, including anyone directly or indirectly employed by
       the Contractor or by any subcontractor, or of anyone for whose acts the
       Contractor or its subcontractor may be liable, in connection with providing these
       services, and related to the medical services detailed herein. This provision does
       not, however, require the Contractor to indemnify or hold harmless the Sheriff or
       the County from their own negligence.

Furthermore, §2.3 stated in full:

       Without limiting the Contractor’s indemnification obligations, the Contractor
       shall procure and maintain, at its sole cost and for the duration of this Agreement,
       insurance coverage as provided herein, against all claims for injuries against
       persons or damages to property which may arise from or in connection with the
       Contractor providing the services contemplated in this Agreement. The Contractor
       will name the Sheriff and the County, including their respective employees,
       agents, attorneys, successors, and assigns, as additional insureds under its
       commercial automobile, commercial general, and professional liability portions of
       insurance, as well as provide the County and Sheriff with a Certificate of
       Insurance SPECIFIC TO CORRECTIONAL FACILITIES AND PUBLIC
       ENTITIES evidencing the terms of the insurance coverage and policy limits. Each
       such policy MUST INCLUDE LANGUAGE TO THE EFFECT THAT THE
       LISTING AS ADDITIONAL INSUREDS SHALL NOT BE CONSRUED AS
       WAIVING THEIR RESPECTIVE RIGHTS OR DEFENSES WITH REGARD
       TO APPLICABLE SOVEREIGN, GOVERNMENTAL OR OFFICIAL
       IMMUNITIES AND ANY OTHER PROTECTIONS OR DEFENSES AS
       PROVIDED BY FEDERAL AND STATE CONSTITUTIONS, STATUTES,

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         AND LAWS, AND THE PROCUREMENT AND MAINTENANCE OF
         INSURANCE SHALL NOT BE CONSTRUED AS WAIVING SUCH
         PROTECTIONS OR DEFENSES. The Contractor expressly warrants that such
         insurance will cover the Sheriff and the County, including their respective
         officers, employees, agents, attorneys, successors, and assigns, as well as cover
         the Contractor and the individuals, entities, employees, independent contractors,
         successors, agents, and assigns through which the Contractor shall act to provide
         the services detailed herein, and in the event that there is no such coverage, the
         Contractor shall defend, indemnify, and hold harmless the Sheriff and the County,
         and their respective officers, employees, agents, attorneys, successors, and
         assigns.

         The Contractor shall not provide the services required by this Agreement until it
         has obtained all insurance required by this Agreement, where the Contractor must
         submit proof of said insurance which has been approved by the Sheriff. All
         policies shall be from companies authorized to issue insurance in the State of
         Missouri and shall be in the designated amounts (where specified), and from
         companies satisfactory to the Sheriff, and which must carry an A-6 better rating as
         listed in the A.M. Best or equivalent rating guide. The Contractor’s inability to
         perform the services required by this Agreement due to failure to procure
         approved insurance shall not excuse performance, and will constitute a breach of
         this Agreement. Any notice of cancellation of insurance shall be given in writing
         to the Sheriff in the manner in which notices are required by this Agreement. The
         Contractor shall assume all responsibility for deductible amounts from such
         insurance and shall indemnify and hold the Sheriff and the County harmless
         therefrom. In addition, the Contractor shall reimburse the Sheriff or the County
         for any damage done to their respective property which occurs during
         performance of this Agreement.


Conclusion

         We encourage you to provide the necessary defense as quickly as possible.

                                              Cordially,

                                              KECK & AUSTIN, L.L.C.


                                              By/s/ Damon S. Phillips
                                                  Damon S. Phillips


DSP:jh



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November 20, 2018

Keck & Austin
3140 E. Division St.
Springfield, MO 65802
Attention: Damon S. Phillips

Via Certified Mail: 9214700000000000000546
Via email at: damon@keckaustin.com
Via facsimile: 417-890-8990


Re:    Claimant: Michael Hancock; Courtney Blake; and Anthony Porter
       Michael Hancock et al Plaintiffs v. Jim C. Arnott et al, Defendants
       Cause No. 6:18-cv-03170-MDH

       Insured: Advanced Correctional Healthcare ACH); Dr. Jason Wilkins; Eric Partenheimer;
       and Solita Massie.
       WLI Claim No: ACH-17-396649

Dear Mr. Phillips:

Western Litigation has been retained by Advanced Correctional Healthcare (“ACH”) and its
insurer Arch Specialty Insurance Company to manage the above captioned claim. We are in
receipt of your letters of September 7, 2018 and November 5, 2018 on behalf of the Sheriff of
Greene County, Missouri seeking a defense and indemnification of the above referenced
County Sheriff, from Advanced Correctional Healthcare pursuant to their contract to provide
inmate health services.

After reviewing the complaints it is clear that the all three inmates in these Complaints are
alleging they were advised they could not have outside medical care unless they paid for the
medical care. Without going through each and every allegation noted in these Complaints, at
this juncture it is clear is that there are specific separate allegations against the County and
Sheriff with regard to the policy requiring payment of medical services and authorization of
deduction of funds for payment of medical care from the prisoner accounts.

Further the Hold Harmless/ Indemnification provision in the applicable contract between ACH
and Greene County clearly provides that the “provision does not, however, require the
Contractor (ACH) to indemnify or hold harmless the Sheriff or the County from their own
negligence.” In each of the three complaints filed, the individual prisoners are alleging that they
were denied medical care and treatment because they refused to pay for the fees for
consultation and treatment. In each instance, it is noted that neither ACH nor any of the
employed staff involved in these matters had any involvement in the creation of rules and
regulations related to the payment for outside medical providers and/or outside medical services
for non-urgent, non-emergent care. Nor did they have any role in determining who pays for



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medical treatment. Further, as you are aware, Missouri law does not require anyone but the
prisoner to pay for medical care.

Please note that we have retained J. Thaddeus Eckenrode of Eckenrode Maupin in St Louis,
Missouri to represent the interests of Advanced Correctional Healthcare, Dr. Jason Wilkins, Eric
Partenheimer, and Solita Massie in this matter. Please note that most recently Motions to
Dismiss all three complaints were filed on behalf of ACH, Dr. Jason Wilkins; Eric Partenheimer;
and Solita Massie.

With regard to your reference to the contractual provision that provides that ACH agreed to
“procure and maintain, … insurance coverage … against all claims for injuries against all claims
for injuries against persons or damages to property which may arise from or in connection with
…(ACH) providing the services contemplated in the agreement” and requiring that ACH would
“name the Sheriff and the county, including their respective employees, … as additional
insureds …under … commercial general and professional liability portions of insurance, please
note we have referred this matter to the carrier for their analysis. However, it is noted that the
policy in question clearly states under SECTION Ill - WHO IS AN INSURED: COVERAGE C -
HEALTH CARE PROFESSIONAL LIABILITY; SECTION VII – CONDITIONS:

7.     Other Insurance

This insurance is excess of any other valid and collectible insurance available to you whether
that insurance is stated to be primary, pro-rata, contributory, excess, contingent or otherwise,
unless that insurance specifically applies as excess insurance over this coverage form.

Therefore, based on the above, Advanced Correctional Healthcare respectfully declines your
tender of defense and request for indemnification in the above-captioned matter at this time.
Nothing in this correspondence shall be deemed to be a waiver of any contractual defense
available to ACH in the future.

If you have any questions, please do not hesitate to contact me.

Very truly yours,
Eugene B. Isotti
Eugene B. Isotti, J.D.
Senior Vice President
Western Litigation

Cc:
Peter R. Jennetten
Quinn, Johnston, Henderson, Pretorius & Cerulo
27 N.E. Jefferson Ave.,
Peoria, IL 61602-1211

Alex Kinzinger
Advanced Correctional Healthcare, Inc.

Kecia Hoskins
Arch




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                                          LAWYERS

                    KECK, PHILLIPS & WILSON
                                      3140 E. DIVISION ST.
                                    SPRINGFIELD, MO 65802
                                     (417) 890-8989-office
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SEAN MCGINNIS
DAMON PHILLIPS                                                                    Investigator
MATTHEW D. WILSON                                                                 MARLA MILLER
FRANK COTTEY
                                                                                  * Principle, Licensed in
                                                                                    Missouri, Kansas and
                                                                                   Arkansas

                                       December 3, 2018

VIA EMAIL ONLY: Eugene_Isotti@westernlitigation.com
Eugene B. Isotti, J.D.
Senior Vice President Western Litigation
8401 N. Central Expressway, Suite 900| Dallas, TX 75225

       Re:     Michael Hancock, et al. v. Sheriff Jim Arnott, et al., 18-3170-CV-S-MDH-P
               U.S. Dist. Court for the Western District of Missouri

Dear Mr. Isotti:


        I previously sent tender letters dated September 7, 2018 and November 5, 2018 to
Advanced Correctional Healthcare, Inc. (“ACH”) pursuant to the notice provisions of the 2017
inmate medical services agreement (“Agreement”) between that entity and the Sheriff and
Greene County, Missouri (“GCSO”). You responded to those letters on behalf of ACH in a letter
dated November 30, 2018, sent via email, which copied general counsel for ACH. Accordingly,
there is no dispute that ACH received notice under the Agreement. Moreover, you identified
yourself as an attorney acting on behalf of ACH, albeit as an employee of a risk management
company, Western Litigation, retained by ACH and its insurer, Arch Specialty Ins. Co. Thus,
based on your assertion that you were responding to our letters for ACH, and your being an
attorney, I am directing this letter to your attention. If for any reason you do not represent
ACH regarding its obligations under the Agreement, as they relate to the above-captioned
lawsuits, please forward this letter to the appropriate individual(s), and provide the contact
information for said individual(s). In the meantime, I am also copying ACH’s general
counsel.

         In your November 30, 2018 letter, you advised that ACH had: 1) denied tender under the
Agreement; 2) retained counsel for ACH and its staff; 3) filed motions to dismiss for ACH and
its staff; and 4) forwarded tender to ACH’s insurer, but expected the insurer to deny coverage. It
is of course strange that you would act on behalf of ACH while simultaneously suggesting a lack
of coverage, but in any event, that is just one part of what makes your letter perplexing.



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       Strictly as a strategic matter, ACH’s rejection of the tender makes little sense. Assuming
continued litigation, our clients are almost certain to obtain summary judgment; logically, it
would make more sense for ACH to pursue that resolution on our clients’ behalf; rather than go
down the road it has chosen. Instead, ACH seems determined to destroy any possibility of a
united front, and to force us to file suit against ACH. ACH’s actions will also compel us to
contact plaintiffs’ counsel, and explore the possibility of a separate resolution, to the detriment of
ACH.

        Even if ACH promptly reconsiders, ACH’s arguments in your letter and in its court
filings have created a clear conflict of interest between our respective clients. In both instances,
ACH has attacked our clients and mischaracterized ACH’s duties under the Agreement.
Accordingly, ACH will need to retain separate counsel for our clients.

The Complaints

        Inmates Hancock, Porter, and Blade each filed a separate lawsuit. Inmate Hancock sued
Sheriff Arnott, Major Denny, Capt. Johnson, Capt. Coonrod, and Capt. Howell; plus ACH
employees Dr. Wilkins and Nurse E. Partenheimer. Essentially, inmate Hancock alleged that
“Dr. Wilkins has refused to send me to the hospital for surgery to fix my hernia,” and accused
GCSO staff of “refusing medical care if … inmates cannot pay.” Similarly, inmate Porter sued
the GCSO and ACH staff person Nurse Massie, and alleged that Nurse Massie denied her
medical treatment, and that the GCSO had a policy of requiring inmates to pay for medical
treatment. The third inmate, Blade, did not sue any GCSO staff, but argued that Dr. Wilkins had
refused to send her to an ophthalmologist until she paid the latter’s referral fee. The Court
properly recognized the similarity of all these allegations, appointed counsel, and consolidated
all three cases.

       In denying tender, your November 30, 2018 letter described that: “[a]fter reviewing the
complaints it is clear that the all three inmates in these Complaints are alleging they were advised
they could not have outside medical care unless they paid for the medical care.” Then, ACH
proceeded to throw our clients under the bus in its motions to dismiss.

       ACH filed motions to dismiss all three lawsuits as to ACH and its staff. In each of those
motions, ACH misrepresented to the Court that ACH has no control over inmate access to
outside medical treatment, and that access to treatment is determined by GCSO staff. ACH
argued as to inmate Hancock’s complaint that:

       The crux of Plaintiff's allegations against these Defendants must be that they
       did not force the jail to pay for his surgery or consultation for "nerve damage".

       …

       Plaintiff's Complaint solely alleges that Defendant Wilkins failed to force the jail
       to pay for a hernia surgery … [t]hese Defendants have no control over who pays
       for any outside surgeries and/or consults …


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(Doc. 24, p. 4, 5)(emphasis added). In that same vein, ACH argued as to Porter’s complaint that:

       Nurse Massie provides care to inmates, but the Greene County Justice Center
       requires inmates sign certain documents. Nurse Massie has no role in
       determining who pays for any medical treatment.

       …

       Plaintiff is unable to establish that [Nurse Massie] was ever involved in any
       decision-making regarding the payment for medical care. …There is nothing in
       Plaintiff's Complaint that suggests the medical care on February 11, 2018 was
       medically necessary and emergent.

(Doc. 26, p. 1-2, 5)(emphasis added). ACH took that same approach as to inmate Blade, and told
the Court that:

       Plaintiff was not sent to see the eye specialist because the eye specialist required a
       $250 fee before he/she would see Plaintiff. Dr. Wilkins and ACH are not
       employees of Greene County Justice Center and have no involvement in the
       creations of rules and regulations related to the payment for outside medical
       providers. Dr. Wilkins referred Plaintiff to a specialist and who pays for the
       specialist is not determined by these Defendants.

       …

       The only allegation that is against [Dr. Wilkins and ACH] is that Plaintiff was not
       sent to an ophthalmologist for an appointment…Even assuming, arguendo, that
       Plaintiff's floaters and black spots in his eyes are "serious medical needs", there is
       no allegation that these Defendants were "indifferent"…[t]he crux of Plaintiff's
       allegations against these Defendants must be that they did not force the jail to
       pay for his consult with an ophthalmologist.

(Doc. 28, p. 4-5).

ACH’s arguments to the effect that “the jail” determines inmate access to medical treatment
based on the inmate’s ability to pay for it, are patently false. ACH also made those arguments in
complete disregard of the Agreement.

The Agreement

         ACH is responsible under the Agreement for providing all necessary inmate medical care
within its professional abilities at its expense, and must determine whether care is elective
(which also means ACH decides if it will bear the expense), and ACH must immediately notify
jail staff of any serious medical need that is beyond ACH’s professional abilities to treat. The
Agreement expressly states that:


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       The Parties acknowledge that the Sheriff must rely on the Contractor’s medical
       judgment in determining when treatment for an inmate is medically necessary
       and reasonable.

(Agreement, “Performance to Satisfaction of Sheriff,” p. 14 of 30)(emphasis added). The parties
also agreed that:

       The Contractor shall provide all inmate medical treatment and treatment
       recommendations that it believes to be medically necessary and within its
       professional capabilities to provide, and the Sheriff, including his respective
       employees, agents, attorneys, successors, and assigns, shall rely on the
       Contractor to provide such medical treatment and treatment recommendations.

(Agreement, “General Nature,” p. 5 of 30)(emphasis added). Additionally, the Agreement
provides that:

       The Parties expressly acknowledge that the Sheriff shall rely on the Contractor
       to provide all expert opinions regarding the medical condition and medically
       necessary treatment of all inmates at the GCJ, including that the Contractor
       shall be solely responsible for determining whether or not an inmate is
       medically fit for confinement.

(Agreement, “Expert Opinion,” p. 5 of 30)(emphasis added). Further, that:

       The Contractor shall also examine each inmate that appears to suffer from any
       medical issue that could render such inmate not fit for confinement and determine
       whether such inmate is medically fit for confinement, and promptly notify and
       advise GCJ staff of that determination.

(Agreement, “Medical Screening,” p. 6 of 30)(emphasis added). In the event medically necessary
treatment off-site is required, then the parties agreed:

       If in the Contractor’s opinion an inmate requires medical treatment that is beyond
       the Contractor’s professional abilities, such as for example, complicated surgical
       intervention, the Contractor shall take such steps as it believes are medically
       necessary to provide treatment, including referral to an appropriate off-site or
       outside emergency medical provider. In case of such need, the Contractor shall
       immediately notify GCJ staff, which will make arrangements for the
       transportation of the inmate to the preferred provider.

(Agreement, “Scope of Care,” p. 6 of 30)(emphasis added). The Agreement also detailed that
ACH must determine whether care was medically necessary or elective, where ACH would not
be financially responsible for the latter, in that:

       The Contractor will not be responsible for providing elective care to inmates.
       “Elective care” is care which, if not provided, would not, in the opinion of the

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       Contractor, cause the inmate’s health to deteriorate, or cause harm to the inmate’s
       well-being. Decisions concerning elective care should be consistent with the
       applicable American Medical Association (AMA) standards. The Parties
       expressly acknowledge that the Sheriff must rely on the Contractor to provide all
       expert medical opinions, including that the Contractor shall be solely
       responsible for determining whether or not care is elective or medically
       necessary (non-elective).

(Agreement, “Elective Care,” p. 7 of 30)(emphasis added). The Agreement also includes:

       The Contractor shall determine whether what would otherwise be a personal
       need item is medically necessary under the specific circumstances applicable to
       an individual inmate, and the Contractor shall timely notify the Sheriff of any
       such determination, and the Contractor shall either administer the medically
       necessary treatment or make the necessary referral and arrangement for such
       treatment to be provided.

(Agreement, “Inmate Personal Needs,” p. 9 of 30).

       Accordingly, ACH’s arguments that jail staff have any role in preventing inmate
treatment based on financial ability, are simply incorrect. Moreover, there can be no dispute that
the inmates in this case have alleged matters arising out of ACH’s acts in providing medical
services, such as by determining whether or not outside medical care was elective. Thus, ACH
must accept tender.

ACH’s Duty to Accept Tender

         Your November 30, 2018 letter disregarded the Agreement as a whole, but also presented
the last sentence of §2.1 out of context, for the proposition that the “provision does not, however,
require the Contractor (ACH) to indemnify or hold harmless the Sheriff or the County from their
own negligence.” As you know, §2.1 of the Agreement includes that:

       To the fullest extent permitted by law, the Contractor shall hold harmless and
       indemnify the Sheriff and the County, including their respective employees,
       agents, attorneys, successors, and assigns, against any claims, losses, damages,
       including reasonable attorneys’ fees and other costs of litigation, and expenses,
       arising by reason of any act, negligent or otherwise, of the Contractor or its
       personnel, including the individuals, entities, employees, independent contractors,
       subcontractors (meaning anyone, including but not limited to consultants having a
       contract with the Contractor or a subcontract for part of the services), successors,
       agents, and assigns through which the Contractor shall act in relation to providing
       the services detailed herein, including anyone directly or indirectly employed by
       the Contractor or by any subcontractor, or of anyone for whose acts the
       Contractor or its subcontractor may be liable, in connection with providing these
       services, and related to the medical services detailed herein. This provision does


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       not, however, require the Contractor to indemnify or hold harmless the Sheriff or
       the County from their own negligence.

(Agreement, “Hold Harmless/Indemnification,” p. 15 of 30)(emphasis added). To be clear,
ACH’s obligations in this regard are based on its role in providing services under the Agreement,
not on the acts of our clients. Again, the inmates have alleged that they were denied access to
medical treatment, and the decision on whether treatment is medically necessary is entirely
ACH’s responsibility. Obviously, your focus on the last provision of §2.1 in isolation disregards
ACH’s obligations detailed in §2.1 regarding “any act [of ACH staff]…in connection with
providing these services, and related to the medical services detailed herein.” It also misses the
point of the Agreement as a whole, and there can be no genuine dispute that the inmate
allegations at issue regard ACH’s acts in providing medical services under the Agreement.

       It is also not clear why you would argue on behalf of ACH that ACH’s insurance is
unlikely to provide coverage. I could certainly understand why it would be in the interest of
Western Litigation or Arch Specialty Insurance Company to take that position; but it is obviously
not in ACH’s interest to argue a lack of coverage. Here, note §2.3 of the Agreement includes
that:

       Without limiting the Contractor’s indemnification obligations, the Contractor
       shall procure and maintain, at its sole cost and for the duration of this Agreement,
       insurance coverage as provided herein, against all claims for injuries against
       persons or damages to property which may arise from or in connection with the
       Contractor providing the services contemplated in this Agreement.

       …

       The Contractor expressly warrants that such insurance will cover the Sheriff
       and the County, including their respective officers, employees, agents,
       attorneys, successors, and assigns, as well as cover the Contractor and the
       individuals, entities, employees, independent contractors, successors, agents,
       and assigns through which the Contractor shall act to provide the services
       detailed herein, and in the event that there is no such coverage, the Contractor
       shall defend, indemnify, and hold harmless the Sheriff and the County, and
       their respective officers, employees, agents, attorneys, successors, and assigns.

(Agreement, “Insurance,” p. 15 of 30)(emphasis added). In any event, ACH’s duties exist
regardless of whether the insurer denies coverage.

       Finally, it is unlikely that ACH will succeed on its motions to dismiss. Even if plaintiffs’
counsel did nothing, and allowed the case to be dismissed, ACH’s obligations under the
Agreement would remain. Further, I expect that ACH would be involved in the discovery
process.

Conclusion


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      For all these reasons, I strongly encourage you to change your position.

                                           Cordially,

                                           KECK, PHILLIPS & WILSON, L.L.C.


                                           By/s/ Damon S. Phillips
                                               Damon S. Phillips


DSP:jh
Cc: alex.kinzinger@advancedch.com




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Of Counsel                                                                          Investigator
SEAN MCGINNIS                                                                       MARLA MILLER

Outside Counsel                                                                     * Principle, Licensed in
FRANK COTTEY                                                                          Missouri, Kansas and
                                                                                      Arkansas

                                          October 21, 2019

VIA EMAIL: Eugene_Isotti@westernlitigation.com

AND VIA CERTIFIED MAIL:                 7018 1830 0001 1144 2193

Advanced Correctional Healthcare, Inc.
C/O:
Eugene B. Isotti, J.D.
Senior Vice President Western Litigation
8401 N. Central Expressway, Suite 900| Dallas, TX 75225

       Re:        Michael Hancock, et al. v. Sheriff Jim Arnott, et al., 18-3170-CV-S-MDH-P
                  U.S. Dist. Court for the Western District of Missouri

Dear Mr. Isotti:

       I and this firm represent Greene County, Missouri, Greene County Sheriff Jim Arnott,
and public officials Major Denny, Captain Howell, Captain Coonrod, and Captain Johnson, in
the above-captioned matter. As you know, three former jail inmates sued my clients, plus
Advanced Correctional Healthcare, Inc. (“ACH”), and ACH employees Dr. Jason Wilkins, Eric
Partenheimer, and Solita Massie, regarding inmate medical treatment. I understand you are an
attorney hired by a risk management company, Western Litigation, for ACH and its insurer,
Arch Specialty Ins. Co., to make decisions regarding ACH’s obligations under its 2017 contract
to provide inmate medical services at the jail.

I. ACH Had A Duty to Diagnose Whether Jail Inmates Had Serious Medical Needs

       All three inmates allege that they had medical needs that were not treated. My clients are
not doctors or medical professionals. That is why your client, ACH, was contracted to evaluate
inmate medical needs. The Agreement expressly states that:

       The Parties acknowledge that the Sheriff must rely on the Contractor’s medical
       judgment in determining when treatment for an inmate is medically necessary
       and reasonable.


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(Agreement, “Performance to Satisfaction of Sheriff,” p. 14 of 30)(emphasis added).
Additionally, the Agreement provides that:

       The Parties expressly acknowledge that the Sheriff shall rely on the Contractor
       to provide all expert opinions regarding the medical condition and medically
       necessary treatment of all inmates at the GCJ, including that the Contractor
       shall be solely responsible for determining whether or not an inmate is
       medically fit for confinement.

(Agreement, “Expert Opinion,” p. 5 of 30)(emphasis added). Further:

       “Elective care” is care which, if not provided, would not, in the opinion of the
       Contractor, cause the inmate’s health to deteriorate, or cause harm to the
       inmate’s well-being. Decisions concerning elective care should be consistent with
       the applicable American Medical Association (AMA) standards. The Parties
       expressly acknowledge that the Sheriff must rely on the Contractor to provide all
       expert medical opinions, including that the Contractor shall be solely
       responsible for determining whether or not care is elective or medically
       necessary (non-elective).

(Agreement, “Elective Care,” p. 7 of 30)(emphasis added). The Agreement also includes:

       The Contractor shall determine whether what would otherwise be a personal
       need item is medically necessary under the specific circumstances applicable to
       an individual inmate, and the Contractor shall timely notify the Sheriff of any
       such determination, and the Contractor shall either administer the medically
       necessary treatment or make the necessary referral and arrangement for such
       treatment to be provided.

(Agreement, “Inmate Personal Needs,” p. 9 of 30). The parties also agreed that:

       The Contractor shall provide all inmate medical treatment and treatment
       recommendations that it believes to be medically necessary and within its
       professional capabilities to provide, and the Sheriff, including his respective
       employees, agents, attorneys, successors, and assigns, shall rely on the
       Contractor to provide such medical treatment and treatment recommendations.

(Agreement, “General Nature,” p. 5 of 30)(emphasis added).

II. ACH Had An Obligation to Report All Serious Medical Needs to Jail Staff

          If any inmate had a serious medical need for treatment, then ACH was required to promptly
tell jail staff. The Agreement expressly stated:



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       The Contractor shall also examine each inmate that appears to suffer from any
       medical issue that could render such inmate not fit for confinement and determine
       whether such inmate is medically fit for confinement, and promptly notify and
       advise GCJ staff of that determination.

(Agreement, “Medical Screening,” p. 6 of 30)(emphasis added). In the event medically necessary
treatment off-site is required, then the parties agreed:

       If in the Contractor’s opinion an inmate requires medical treatment that is beyond
       the Contractor’s professional abilities, such as for example, complicated surgical
       intervention, the Contractor shall take such steps as it believes are medically
       necessary to provide treatment, including referral to an appropriate off-site or
       outside emergency medical provider. In case of such need, the Contractor shall
       immediately notify GCJ staff, which will make arrangements for the
       transportation of the inmate to the preferred provider.

(Agreement, “Scope of Care,” p. 6 of 30)(emphasis added). ACH did not tell jail staff that any
of these three inmates had serious medical needs for treatment. (I am not saying the inmates
actually had any such need, I am merely pointing out that it is undisputed that ACH did not tell
jail staff about any such need).

III. ACH Was Supposed To Protect Greene County and Its Public Officers from these
     kinds of lawsuits

    Under the terms of the Contract, it does not matter whether the inmates have made frivolous
allegations, and ACH along with its insurer must defend, hold harmless, and indemnify Greene
County and its public officers from the lawsuits. First, §2.1 of the Agreement includes that:

       To the fullest extent permitted by law, the Contractor shall hold harmless and
       indemnify the Sheriff and the County, including their respective employees,
       agents, attorneys, successors, and assigns, against any claims, losses, damages,
       including reasonable attorneys’ fees and other costs of litigation, and expenses,
       arising by reason of any act, negligent or otherwise, of the Contractor or its
       personnel, including the individuals, entities, employees, independent contractors,
       subcontractors (meaning anyone, including but not limited to consultants having a
       contract with the Contractor or a subcontract for part of the services), successors,
       agents, and assigns through which the Contractor shall act in relation to providing
       the services detailed herein, including anyone directly or indirectly employed by
       the Contractor or by any subcontractor, or of anyone for whose acts the
       Contractor or its subcontractor may be liable, in connection with providing these
       services, and related to the medical services detailed herein. This provision does
       not, however, require the Contractor to indemnify or hold harmless the Sheriff or
       the County from their own negligence.




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(Agreement, “Hold Harmless/Indemnification,” p. 15 of 30)(emphasis added). It is also crystal-
clear that ACH’s insurance must cover my clients pursuant to the Contract, and:

       The Contractor expressly warrants that such insurance will cover the Sheriff and
       the County, including their respective officers, employees, agents, attorneys,
       successors, and assigns, as well as cover the Contractor and the individuals,
       entities, employees, independent contractors, successors, agents, and assigns
       through which the Contractor shall act to provide the services detailed herein, and
       in the event that there is no such coverage, the Contractor shall defend, indemnify,
       and hold harmless the Sheriff and the County, and their respective officers,
       employees, agents, attorneys, successors, and assigns.

(Agreement, “Insurance,” p. 15 of 30).

   IV. ACH made misrepresentations and breached the Contract

        Prior to entering the Contract, ACH regularly conducted seminars where it advertised that
it would take care of inmate medical treatment matters and lawsuits if hired. My clients relied on
those representations, and trusted that ACH would adhere by the terms of the Contract. These
lawsuits were filed and consolidated with counsel appointed on August 23, 2018. I sent your
client/insured letters dated September 7, 2018; November 5, 2018; and December 3, 2018,
repeatedly demanding that ACH protect my clients from these lawsuits. In January of 2019
representatives of ACH asked to discuss the dispute, but again refused to take any action to
protect my clients. ACH has also taken the position that it was not responsible for treatment
decisions. At mediation on October 10, 2019 ACH failed to take steps to protect my clients. At
this point, it has become very clear that ACH does not take its promises seriously.

   V. ACH’s actions have damaged the people of Greene County, Missouri

       In a real sense, our clients in these three federal lawsuits are the people of Greene County,
Missouri. ACH’s actions have hurt our clients, and prior to mediation $29,249.56 in fees and costs
had been incurred in defending against these lawsuits. If ACH does not promptly take over the cost
of defense, and compensate our clients for the defense costs already incurred, without reservation,
then we will have no choice but to take all reasonable steps to protect our clients.

                                              Cordially,

                                              KECK & PHILLIPS, L.L.C.

                                              /s/Damon S. Phillips
                                                 Damon S. Phillips
DSP/cjs




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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

MICHAEL D. HANCOCK,                              )
Plaintiff                                        )
v.                                               )       Case No. 6:18-cv-03170-MDH
                                                 )
JIM ARNOTT, et al.,                              )         Consolidated with Cases:
Defendants                                       )
                                                 )
ANTHONY T. PORTER,                               )       Case No. 6:18-cv-04114-MDH
Plaintiff                                        )
v.                                               )
                                                 )
MASSIE, et al.,                                  )
Defendants                                       )
                                                 )      Case No.: 6:18-cv-03212-MDH
COURTNEY BLADE,                                  )
Plaintiff                                        )
v.                                               )
                                                 )
ADVANCED CORRECTIONAL                            )
HEALTHCARE,                                      )
Defendant.                                       )
                                                 )


                                          ORDER
       Before the Court are multiple motions for summary judgment:        Defendants Arnott,

Coonrod, Denny, Greene County Sheriff’s Office, Howell and Johnson’s Motion for Summary

Judgment as to Plaintiff Hancock (Doc. 236); Defendants Arnott and Greene County’s Motion for

Summary Judgment as to Plaintiff Blade (Doc. 239); Defendants Dr. Wilkins and Advanced

Correctional Healthcare, Inc.’s (“ACH”) Motion for Summary Judgment as to Plaintiff Blade

(Doc. 242); Defendants Dr. Wilkins, Partenheimer, and ACH’s Motion for Summary Judgment as

to Plaintiff Hancock (Doc. 245); Defendants Arnott and Greene County, Missouri’s Motion for

Summary Judgment as to Plaintiff Porter (Doc. 274); and Defendants Dr. Wilkins, Massie and

ACH’s Motion for Summary Judgment as to Plaintiff Porter (Doc. 278).

                                             1

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          Plaintiffs’ lawsuits allege Greene County’s policy implemented and enforced by

Defendants, makes pre-payment a pre-requisite for necessary medical treatment for inmates in

violation of their constitutional rights. The Court initially heard evidence on Plaintiffs’ motion for

preliminary injunctive relief and ruled that to the extent Greene County Jail’s (“Greene County”)

policy requires inmates to pre-pay for necessary medical treatment of serious medical needs it

would violate the constitution. This Court further held that whether an inmate has a serious

medical need is a case-by-case determination and that based on the evidence before the Court, at

that time, Plaintiff Hancock’s hernia constituted a serious medical need, but that Hancock’s other

complaints did not constitute serious medical needs. Plaintiff Blade’s eye complaints were found

not to constitute a serious medical need.1 The Court granted in part Plaintiffs’ motion for

injunctive relief. (See Doc 100). The Court ordered that to the extent Hancock remained in

custody he should be further examined by Dr. Woods. Defendants were further ordered to treat

Hancock for his hernia without requiring pre-payment. The Court’s prior Order was dated April

2, 2019. Hancock had been transferred to Missouri Department of Corrections on March 20, 2019.

          Now before the Court are Defendants’ motions for summary judgment on Plaintiffs’

claims. Plaintiffs’ Amended Complaints each raise one count – Count I – Violation of 42 U.S.C.

§ 1983: Cruel and Unusual Punishment. Defendants Dr. Wilkins and the ACH Defendants

(including Dr. Wilkins, Nurse Partenheimer, and Nurse Massie) generally argue that Plaintiffs

have failed to state a claim of a constitutional violation; that Defendants did not have any policy,

procedure, or custom that violated a constitutional right; and that Defendants cannot be held

vicariously liable for the alleged violations of Plaintiffs’ constitutional rights. The Greene County

Defendants (including Sheriff Arnott, Denney, Johnson, Coonrod, and Howell) generally argue



1
    Plaintiff Porter’s claims were not raised in the previous motion or the Court’s prior Order.
                                                   2

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that Plaintiffs have failed to state a claim of a constitutional violation; that Plaintiffs do not have

serious medical needs; that Plaintiffs cannot show that Defendants were the moving force behind

an Eighth Amendment violation in order to establish municipal liability; that Plaintiffs failed to

exhaust administrative remedies; and that Plaintiffs lack standing for relief as their claims are

moot. The motions for summary judgment are specifically addressed as to each of the Plaintiffs’

claims below.

                                         BACKGROUND2

       Greene County and ACH Defendants

       Greene County’s policy states, in part:

       While incarcerated in the Greene County Jail, your medical care will be under the
       direction of the Jail’s Physician. If you require care outside of the facility, you must
       assume responsibility for payment of that care.

Greene County Jail Rulebook, page twenty-six, Section 6.

       Missouri Revised Statute § 221.120 states:

       If any prisoner confined in the county jail is sick and in the judgment of the jailer,
       requires the attention of a physician, dental care, or medicine, the jailer shall
       procure the necessary medicine, dental care or medical attention necessary or
       proper to maintain the health of the prisoner. The costs of such medicine, dental
       care, or medical attention shall be paid by the prisoner through any health insurance
       policy as defined in subsection 3 of this section, from which the prisoner is eligible
       to receive benefits. If the prisoner is not eligible for such health insurance benefits
       then the prisoner shall be liable for the payment of such medical attention, dental
       care, or medicine, and the assets of such prisoner may be subject to levy and
       execution under court order to satisfy such expenses in accordance with the
       provisions of section 221.070, and any other applicable law. The county
       commission of the county may at times authorize payment of certain medical costs
       that the county commission determines to be necessary and reasonable. As used in
       this section, the term “medical costs” includes the actual costs of medicine, dental



2
  The facts presented in the pending summary judgment motions have been considered by the
Court in a light most favorable to Plaintiffs. Further, the Court has reviewed nearly 800 paragraphs
of “material facts” submitted by the parties in the pending briefs. For purposes of this Order the
Court has recited the facts it finds relevant to its rulings on the pending motions.
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       care or other medical attention and necessary costs associated with such medical
       care such as transportation, guards and inpatient care.

Informational booklets provided to inmates, “Inmate Rulebooks,” further state, in part:

       Inmates will not be denied medical treatment for inability to pay, but the inmate’s
       trust account will still be charged. When an inmate receives money the fee will be
       deducted before any other transactions occur. No inmate will be denied health care
       services due to an inability to pay. All services will be ordered at the discretion of
       the Jail’s medical staff and/or physician.

The Inmate Rulebook further states Greene County shall require reimbursement for medical

services provided to inmates per RSMo Section 221.120 and that while incarcerated in the Greene

County Jail an inmate’s medical care will be under the direction of the Jail’s Physician and that “if

you require care outside of the facility, you must assume responsibility for payment of that care.”

       ACH provided inmate medical services at Greene County through Jason Wilkins, M.D., a

licensed physician, and other medical professionals. Dr. Wilkins provided medical services on

behalf of ACH, a private entity, to inmates within Greene County Justice Center. He worked for

the Greene County Sheriff from 2008 until 2017 and then began working for ACH. Eric

Partenheimer is a registered nurse and provided care to inmates in the Greene County Justice

Center. ACH also assisted in drafting and implementing specific medical policies and maintaining

the appropriate standards and accreditation for such policies.

       This Court has already held that if Greene County’s written policy was implemented so as

to require inmates to provide prepayment as a condition to receiving necessary medical treatment

for a serious medical need it would violate the constitution. Nothing in this Order should be

construed to alter that ruling. (See Doc. 100). To be clear, necessary medical treatment of a serious

medical need may not be withheld based on an inmate’s ability (or inability) to prepay for such

medical treatment. However, placing the ultimate financial responsibility for medical treatment

and services on the inmate is not a constitutional violation.

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        Plaintiff Hancock

       Plaintiff Hancock arrived at Greene County on May 14, 2017 shortly after undergoing

surgery for gunshot wounds. Dr. Robert Johnson performed the surgery on May 11, 2017 at Mercy

Hospital in Springfield, Mo. Hancock was detained from May 2017 through March 2019 and was

examined and treated by ACH medical staff and outside Mercy health providers during that time.

In May, Hancock was seen for follow up appointments for his surgery. On May 22, 2017 Hancock

was sent to Mercy Hospital emergency room for evaluation. Hancock underwent an abdominal

CT scan. Hancock did not have a hernia at that time. Hancock was discharged on May 24, 2017

and returned to Greene County. Hancock was again seen at Mercy on May 31, 2017 for a follow-

up appointment. Hancock was not required to provide prepayment for any of the outside care he

received for those visits.

       On June 4, 2017, Hancock complained about his medical care and filed a grievance. On

June 11, 2017, Hancock was seen by a nurse at Greene County for a complaint of chest pain and

shortness of breath. Dr. Wilkins then examined Hancock on June 15, 2017. Hancock complained

of right-sided abdominal pain. Dr. Wilkins notes state “c/o right sided abdominal pain. No distress

noted. Will repeat labs.”

       On July 3, 2017, Hancock was seen by a nurse and after being examined put on the list to

be seen again by Dr. Wilkins. Hancock was seen by Dr. Wilkins on July 7, 2017. Hancock was

experiencing abdominal pain and sciatica pain to his left lower foot. Dr. Wilkins ordered that Dr.

Johnson, who performed the prior surgery, be contacted to determine if a follow up was needed.

Dr. Johnson’s office stated there was no indication for a follow up. Dr. Wilkins then saw Hancock

again on July 10, 2017. Hancock was angry and left the examination room before he could be

fully examined. Hancock demanded medication for the “bullet that was moving” inside him. Dr.



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Wilkins ordered Hancock to follow up with his surgeon Dr. Johnson. Hancock was sent to Mercy

Clinic Fremont on July 19, 2017 where he saw a physician assistant. Hancock reported lower

abdominal pain and left leg pain he believed from the bullet. The physician assistant ordered a CT

scan to assess Hancock’s abdomen, pelvis and back pain and to follow up after the CT scan.

Hancock had a CT scan on August 2, 2017. The CT scan showed no hernia but a large amount of

retained stool. On August 7, 2017, Hancock was again seen at Mercy Clinic. Hancock complained

of intermittent abdominal pain and left leg numbness which he thought was cause by a bullet. The

surgeon’s office did not diagnose a hernia on August 7 and ordered magnesium citrate for

Hancock’s constipation. Hancock was not required to provide prepayment for any of the outside

care he received in these visits.

       On September 13, 2017, Hancock was seen by Dr. Wilkins for a sore throat with no

reference to a hernia or back pain on this visit. On November 16, 2017, Hancock saw Dr. Wilkins

for a complaint of heartburn. Hancock’s prescription for Prilosec was renewed. Hancock did not

reference back pain or a hernia on this visit. On November 26, 2017, Hancock’s blood pressure

was 146/86 and Dr. Wilkins ordered Lisinopril for Hancock. There was no reference to hernia or

back pain.

       On November 28, 2017, Hancock saw a nurse for complaints of stomach pain and that he

thought he had a possible hernia. On November 30, 2017, Dr. Wilkins examined Hancock and

assessed an incisional hernia from his previous surgery and determined it was reducible and could

be easily moved into place. Dr. Wilkins informed Hancock that he would contact Mercy for their

opinion but that operative treatment would be considered elective and could safely be delayed until

he was released. On December 12, 2017, Hancock saw Dr. Luehr, a trauma surgeon with Dr.

Johnson’s office. Dr. Luehr noted that Hancock had a small easily reducible ventral hernia and



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could be scheduled for elective repair. Hancock gave consent for Dr. Luehr to perform elective

laparoscopic ventral hernia repair. The medical notes indicate that Dr. Luehr would plan for

laparoscopic ventral hernia repair and Hancock was instructed to present immediately if hernia

became non-reducible or symptoms worsened. Hancock was not admitted and no time frame was

established for the surgery. Hancock was cleared to return to Greene County.

       On December 14, 2017, Dr. Wilkins attempted to see Hancock for follow up with him

regarding his hernia but Hancock refused to be seen. Hancock alleges his hernia had grown in size

during this time, that he experienced increased pain, and that his condition was worsening while

incarcerated at Greene County. Hancock states he requested surgery on multiple occasions and

was denied the surgery because he could not pre-pay for the procedure. However, the record does

not contain any evidence to support Hancock’s vague allegations that his condition was worsening

and there is no evidence that Hancock’s hernia became non-reducible during this time. 3

       On December 18, 2017, Hancock complained that he needed to see a specialist for his back.

Hancock left that visit with Dr. Wilkins prior to being fully evaluated. On January 8, 2018

Hancock saw Dr. Wilkins for a complaint related to his hernia. Dr. Wilkins indicated he would

contact the surgeon’s office but explained the surgeon had indicated the surgery was not

immediately necessary. ACH staff contacted Dr. Johnson’s office and were told that nothing could

be scheduled until it was determined whether payment would be required. It was further stated

that if the hernia protruded or became strangulated to take Hancock to the emergency department.




3
  Hancock has not provided any medical records that establish that his symptoms had worsened or
that his hernia had become non-reducible during this time frame. Further, as stated herein,
Hancock denied medical concerns in March 2019 when transferred and screened at the Missouri
Department of Corrections and did not undergo surgery for the hernia until June 2020.
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       Dr. Wilkins ordered continued observation of Hancock and told Hancock to report if there

were any complications. Hancock also visited ACH medical staff for unrelated issues and with

inconsistent reports of hernia and back pain. 4 Hancock was examined on March 4, 2019 for back

pain. He was given Tylenol and instructed to rest and apply heat to the area. Hancock stated the

back pain had been going on for 7 days at that time. Hancock filed his initial complaint in this

matter on May 29, 2018.

       On March 20, 2019 Hancock was transferred and screened at the Missouri Department of

Corrections. Hancock denied pain or needing medical attention related to a hernia or back pain at

that time. Hancock was medically cleared to work in food service. Hancock states he underwent

hernia surgery in June 2020.

       Plaintiff Blade

       Plaintiff Blade was a pre-trial detainee in the Greene County Jail and received treatment

from Dr. Wilkins and ACH while incarcerated there. Blade was seen and provided treatment for

complaints relating to his eye.5 On March 22, 2018, Blade saw Dr. Wilkins for a complaint relating

to a swollen left eye. Blade reported he suffered an injury to his left eye. Dr. Wilkins assessed

Blade as having conjunctivitis and a possible abrasion. He was prescribed Tobramycin and

Dexamethasone. On March 29, 2018, Blade saw Nurse Brandy Watkins for a complaint related

to poor vision and “floaters.” Nurse Watkins contacted Dr. Wilkins who assessed Blade with a




4
  Hancock was involved in fights with an inmate on March 16, 2018 and December 27, 2018 and
denied medical concerns at those times. Plaintiff was also involved in a struggle with detention
officers on July 11, 2018 and did not report medical concerns. Plaintiff saw ACH staff regularly
through March regarding ear pain.
5
  The record before the Court contains other medical records for Blade that the Court finds
irrelevant to the pending motion.
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subconjunctival hemorrhage and ordered Blade to be sent out of the jail to Optiland for an eye

evaluation.

       On April 2, 2018, Blade saw Dr. Wilkins for a chronic care appointment and did not have

any complaints related to his eyes. On April 12, 2018, Blade underwent an examination at

Heffington’s Optiland by Dr. Dennis White. Blade informed Dr. White that he had floaters. Blade

did not have to prepay for the appointment with Dr. White. Dr. White stated Blade had no signs

of retinal holes, tears, detachments, or lesions. Dr. White diagnosed Blade with having a regular

astigmatism in both eyes. He did not recommend immediate referral to an ophthalmologist and

did not diagnose Blade with vision loss due to an eye injury.       Dr. White stated in the medical

records “if continues to see flashes of light over next couple weeks recommend seeing an

Ophthalmologist (sic) for retinal evaluation.”

       On April 13, 2018, Blade submitted a health service request stating, “my gums have an

infection and bleeding and teeth are loose.” On April 14, 2018, Blade saw Nurse Kristy Battles

regarding his complaint related to a gum infection. On April 21, 2018, Blade submitted a health

service request stating, “this is a follow up on my eye to the specialist that the eye doctor referred

inc (sic) to still seeing floaters and black spots.” On April 28, 2018, Dr. Wilkins approved a referral

to an ophthalmologist and placed the referral for Blade to be sent to Missouri Eye Institute on May

31, 2018. On May 2, 2018, Optiland entered a message in Blade’s account record that stated, “jail

called and wants referral to opthal – DH told them probably MEI and would need to be prepaid

before anyone would see him – she will talk to the Dr there and determine who will pay.” That

same day Blade saw Nurse Warnhoff for a complaint regarding his gums and teeth. Blade did not

complain about his vision or eyes at this visit.




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       On May 25, 2018, Officer Wilkinson notified Blade that Missouri Eye Institute required

payment before they provide treatment. He was told Greene County was not refusing to treat him

and that according to RSMo Section 221.120 the prisoner shall be liable for the payment of such

medical attention. On May 31, 2018, Blade requested to be seen by an eye specialist. On June 10,

2018 Optiland entered a message in Blade’s account record that stated, “Ruth at MEI called – jail

had called them to set up an appt, however he is unable to pay for the exam so they will not

schedule him. We will not see him again either until he comes with $138 he owes from the

04/12/18 exam, plus prepayment for anything else.” Optiland charged Blade $179.00, adjusted

the amount of $41.00 to a total of $138.00, for his eye exam on April 12, 2018. Greene County

ultimately paid the bill. On June 19, 2018, Blade stated in writing he was denied a specialist. 6

       On September 20, 2018, Blade had a chronic care appointment with Dr. Wilkins and

refused his last three lab orders stating it was due to financial reasons. Dr. Wilkins reminded Blade

that there was no charge for labs and that they were important. During this visit Blade did not

reference any eye complaints. Blade had numerous additional interactions, including requests for

health services, with the nurses and Dr. Wilkins regarding his feet and nerve pain in 2018 through

March 23, 2019.7    Blade left Greene County for prison in April 2019.

       Blade was incarcerated at Fulton Reception and Diagnostic Center from April 24, 2019

through July 30, 2019. Blade was seen on May 8, 2019 by Dr. Alfred Garcia for a complaint




6
  The parties dispute whether Blade had sufficient funds to pay $250 for the ophthalmologist.
Defendants state Blade spent over $250 for commissary items. Blade argues the records do not
support this fact. For purposes of this Order, the Court assumes facts most favorable to Plaintiff.
7
  Blade made health services requests on December 6 and 12, 2018 none of which raised concerns
about his eyes or vision. Blade was seen by the nurses or Dr. Wilkins on October 20, 2018,
December 8, 17, 24, 2018, January 7 and 14, 2019, and March 10, 12, 14 and 23, 2019. During
those visits Blade did not raise concerns about his vision or his eyes. Blade was seen for
complaints regarding nerve issues, rashes and other concerns.
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related to an eye issue that he reported was the result of being poke in the eye two years before.

Blade stated that he saw floaters and black spots.        Dr. Garcia’s records indicate that the

examination was grossly unremarkable but that he would be referred to an eye doctor. On May

16, 2019, Blade saw Dr. Michael Lane, an optometrist who diagnosed Blade with posterior

vitreous detachment but did not recommend any treatment for that condition. Blade’s vision at the

appointment was better than his vision when he saw Dr. White at Optiland in 2018. Dr. Lane did

not refer Blade to an ophthalmologist. As of July 30, 2020, Blade was incarcerated at South

Central Correctional Center where he arrived in July 2019. In September 2019, Blade was seen

by an optometrist who said he had no change in his vision.

       Plaintiff Porter

       Plaintiff Anthony Porter arrived as an inmate at Greene County around January 2017.

Porter was incarcerated at other facilities prior to Greene County. 8 Porter received medical

treatment from Nurse Solita Massie and Dr. Wilkins. Porter was seen for a variety of conditions

including complaints related to his mouth. During his first four months of detention at Greene

County Porter either received or refused medical attention at least 17 times.

       Initially, Porter did not have any dental complaints on January 13, 20, or 23, 2017 when he

was seen by ACH medical staff at the jail. On February 28, 2017, Porter was transferred to Cox

Health North emergency room for a complaint of a cystic structure on the roof of his mouth for 3-

5 years that had developed after he had orbital fracture surgery in 2011. Porter states he never saw




8
 Porter was incarcerated in the Cook County, Illinois jail on August 16, 2016 and complained of
an inability to open his mouth due to a toothache. He complained to Cook County on September
7, 2016 that his face was swollen and he couldn’t open his mouth and on September 12, 2016 that
he had an orbital fracture and he was scheduled for a dentist appointment. Plaintiff was
incarcerated at Rutherford County, Tennessee on December 22, 2016. Plaintiff did not make any
dental complaints upon his arrival.
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an oral surgeon, dentist, or ENT after his surgery in 2011. However, Porter previously complained

of mouth pain while incarcerated at other jails in 2016.

        Dr. Schmitt at Cox examined Porter and then cleared him to return to Greene County. Dr.

Schmitt did not refer Porter to an oral surgeon for surgery but recommended an ENT consult and

Augmentin. Dr. Wilkins prescribed the Augmentin and scheduled an appointment with Dr.

Fenwick, an otolaryngologist at Ferrell Duncan Clinic ENT, for March 20, 2017. Dr. Wilkins

followed up with Porter on March 2, 2017 after his emergency room visit and noted Porter was

not compliant with taking his antibiotic. On March 20, 2017, Porter was examined by Dr. Fenwick.

Dr. Fenwick recommended a CT scan of Porter’s facial bones which occurred on March 27, 2017.

After the CT scan, Dr. Fenwick stated Porter needed to see an oral surgeon and made a referral to

OMS. Porter was not required to prepay for any of the outside medical care he received on these

visits. An appointment was scheduled with Dr. Arquitt at OMS for May 4, 2017. Porter was

released from Greene County on April 20, 2017, before his scheduled appointment. 9

        During his release from custody Porter did not seek any medical treatment for the cyst in

his mouth. Porter was reincarcerated at Greene County on December 28, 2017. At intake Porter

signed an intake form stating that he did not have any painful dental conditions. Porter saw ACH

staff for issues related to his left thumb, for which he was sent to the hospital for x-rays, in January

2018. In February 2018, Porter saw Dr. Wilkins regarding his mouth. Dr. Wilkins requested

records from Cox Health and ordered Porter to follow-up with the ENT. Porter was scheduled for

March 23, 2018 to see Dr. Fenwick. Porter refused to sign the health service request to be

examined by nurse Massie at Greene County and refused to see the dentist on February 28, 2018.




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 After two weeks of being released, Porter went to Cook County, Iroquois County, and then Cape
County jails.
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Porter refused to be seen by Dr. Wilkins on March 1, 2018. Porter requested to see the dentist on

March 12, 2018 but again refused to be seen.

       On March 23, 2018, Porter again saw Dr. Fenwick, ENT. Dr. Fenwick noted that Porter

had not followed up with a return visit after his CT. He further recommended a barium swallow

and a consult with an oral surgeon. A barium swallow was scheduled for March 29, 2018 and the

results were that Porter had an unremarkable esophagram.

       On April 7, 2018 Porter again refused to be seen by a dentist and refused to be seen by a

nurse on April 17, 2018. Porter saw Dr. Wilkins on April 19, 2018 but did not have any complaints

or issues related to the cyst in his mouth. Porter was then seen by an oral surgeon, Dr. Gibson, at

OMS on April 30, 2018. Dr. Gibson recommended removal of the cyst in Porter’s mouth and

informed Porter of the risks and benefits of the procedure. Dr. Gibson did not schedule the surgery

at that time but his notes state “will schedule.” Dr. Wilkins was informed to start prescription

amoxycillin and to call to schedule appointment for Porter. Porter was not required to prepay for

any of the outside care he received on these visits.

       After the visit on April 30, 2018, Porter filed no further requests to be seen by medical at

GCJC. Porter was not seen by any medical professionals at the GCJC after April 30, 2018. He

made no further medical requests.

       On May 7, 2018, Nurse Kalyn Sampson contacted OMS to schedule Porter’s procedure for

oral surgery as requested by Dr. Gibson. However, Dr. Gibson’s nurse called Nurse Sampson and

told Nurse Sampson that Dr. Gibson would not perform this surgery while Porter was incarcerated.

Porter argues he was denied surgery because Defendants would not prepay the costs.

       Porter was released from Greene County in approximately July 2018 and went to Iroquois

County, Illinois jail. Porter testified in his deposition in January 2020 that he had not obtained any



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further treatment for the cyst and has not had surgery to remove the cyst. Porter testified after he

was released from jail in August or September 2019 he did go to see Dr. Gibson without an

appointment and was told he needed to get insurance to have the surgery performed.

                                           STANDARD

       Summary judgment is proper where, viewing the evidence in the light most favorable to

the non-moving party, there are no genuine issues of material fact and the moving party is entitled

to judgment as a matter of law. Fed. R. Civ. P. 56(a); Reich v. ConAgra, Inc., 987 F.2d 1357, 1359

(8th Cir. 1993). “Where there is no dispute of material fact and reasonable fact finders could not

find in favor of the nonmoving party, summary judgment is appropriate.” Quinn v. St. Louis

County, 653 F.3d 745, 750 (8th Cir. 2011). Initially, the moving party bears the burden of

demonstrating the absence of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S.

317, 323 (1986). If the movant meets the initial step, the burden shifts to the nonmoving party to

“set forth specific facts showing that there is a genuine issue for trial.” Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986). To satisfy this burden, the nonmoving party must “do more than

simply show there is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).

       A question of material fact is not required to be resolved conclusively in favor of the party

asserting its existence. Rather, all that is required is sufficient evidence supporting the factual

dispute that would require a jury to resolve the differing versions of truth at trial. Anderson v.

Liberty Lobby, Inc., 477 U.S. at 248-249. Further, determinations of credibility and the weight to

give evidence are the functions of the jury, not the judge. Wierman v. Casey’s General Stores, et

al., 638 F.3d 984, 993 (8th Cir. 2011).




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                                          DISCUSSION

       Plaintiffs argue that Greene County Justice Center’s policy requiring inmates to pre-pay

for treatment of a serious medical need amounts to unconstitutional deliberate indifference.

       The Greene County Jail’s policy states:

       While incarcerated in the Greene County Jail, your medical care will be under the
       direction of the Jail’s Physician. If you require care outside of the facility, you must
       assume responsibility for payment of that care.

Missouri Revised Statute § 221.120 states:

       If any prisoner confined in the county jail is sick and in the judgment of the jailer,
       requires the attention of a physician, dental care, or medicine, the jailer shall
       procure the necessary medicine, dental care or medical attention necessary or
       proper to maintain the health of the prisoner. The costs of such medicine, dental
       care, or medical attention shall be paid by the prisoner through any health insurance
       policy as defined in subsection 3 of this section, from which the prisoner is eligible
       to receive benefits. If the prisoner is not eligible for such health insurance benefits
       then the prisoner shall be liable for the payment of such medical attention, dental
       care, or medicine, and the assets of such prisoner may be subject to levy and
       execution under court order to satisfy such expenses in accordance with the
       provisions of section 221.070, and any other applicable law. The county
       commission of the county may at times authorize payment of certain medical costs
       that the county commission determines to be necessary and reasonable. As used in
       this section, the term “medical costs” includes the actual costs of medicine, dental
       care or other medical attention and necessary costs associated with such medical
       care such as transportation, guards and inpatient care.

       The Eighth Circuit has defined “a serious medical need” as “one that has been diagnosed

by a physician as requiring treatment, or one that is so obvious that even a layperson would easily

recognize the necessity for a doctor’s attention.” Camberos v. Branstad, 73 F.3d 174, 176 (8th

Cir. 1995) (internal citation omitted); and Schaub v. VonWald, 638 F.3d 905, 914 (8th Cir. 2011);

see also Model Civ. Jury Instr. 8th Cir. 4.22 (2018) (Definition: Serious Medical Need – Convicted

Prisoners (42 U.S.C. § 1983)). Further, “medical conditions need not be emergencies in order to

be considered serious.” Roe v. Crawford, 514 F.3d 789, 801, n. 9 (8th Cir. 2008).




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       Further, in interpreting “a serious medical need” this Court found an inmate displaying

significant symptoms interfering with the activities of daily life, suffering significant daily pain,

or suffering from a deteriorating medical condition, may have a serious medical need that requires

treatment even if the condition is neither “emergent nor urgent” as those terms may be used in the

medical profession.

       This Court previously found that a policy requiring inmates to prepay for medical services

when a serious medical need exists fails to meet constitutional scrutiny and violates the Eighth

Amendment of the U.S. Constitution. (Doc. 100). This Court concluded that “while an inmate

can be held ultimately responsible for the cost of medical care, it is the jail’s constitutional

obligation to see that an inmate’s serious medical need receives necessary medical attention.” Id.

Here, while ultimate financial responsibility for medical care costs is placed on the inmate, nothing

in Greene County’s written policy requires the inmate to make prepayment for treatment of a

serious medical need. The policy on its face does not contain a constitutional violation. Therefore,

the Court looks to whether Plaintiffs have shown Defendants have an unwritten practice, policy,

or custom that violates Plaintiff’s constitutional rights with regard to the medical treatment of

serious medical needs.

       Defendants argue that Plaintiffs have failed to state a § 1983 claim for medical

mistreatment because they cannot establish a deliberate indifference to objectively serious medical

needs. Under § 1983 a deliberate indifference to serious medical needs of prisoners constitutes

the “unnecessary and wanton infliction of pain” proscribed by the Eighth Amendment. Estelle v.

Gamble, 429 U.S. 97, 104–05, 97 S. Ct. 285, 291, 50 L. Ed. 2d 251 (1976). Plaintiffs’ § 1983

claims for this indifference may arise from a prison doctor’s response to the prisoner’s needs or

from a prison guard’s intentional denial or delay in allowing access to medical care, or intentional



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interference with the treatment prescribed. Id. “In order to state a cognizable claim, a prisoner

must allege acts or omissions sufficiently harmful to evidence deliberate indifference to serious

medical needs. It is only such indifference that can offend ‘evolving standards of decency’ in

violation of the Eighth Amendment.” Id. at 106.

       In order to analyze whether Defendants were deliberately indifferent to Plaintiffs’ serious

medical needs the Court must look at both an objective and a subjective component. Dulany v.

Carnahan, 132 F.3d 1234, 1239 (8th Cir. 1997) (internal citation omitted). Plaintiffs must

demonstrate: (1) that he suffered objectively serious medical needs, and (2) that Defendants

actually knew of but deliberately disregarded those needs. Id. As this Court has already held,

Plaintiffs must establish that their medical needs are serious. However, “the failure to treat a

medical condition does not constitute punishment within the meaning of the Eighth Amendment

unless prison officials knew that the condition created an excessive risk to the inmate’s health and

then failed to act on that knowledge.” Id. “As long as this threshold is not crossed, inmates have

no constitutional right to receive a particular or requested course of treatment, and prison doctors

remain free to exercise their independent medical judgment.” Id. “Mere negligence or medical

malpractice, however, are insufficient to rise to a constitutional violation.” Id.

       Defendants can be “found free from liability if they responded reasonably to a risk, even if

the harm ultimately was not averted.” Id. at 1240. If the medical records indicate that treatment

was provided and physician affidavits indicate that the care provided was adequate, Plaintiff

cannot create a question of fact by merely stating that he did not feel he received adequate

treatment. Id.

       When an “inmate alleges that a delay in medical treatment rises to the level of an Eighth

Amendment violation, ‘the objective seriousness of the deprivation should also be measured by



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reference to the effect of delay in treatment.’” Laughlin v. Schriro, 430 F.3d 927, 929 (8th Cir.

2005)(citations omitted). An “inmate must place verifying medical evidence in the record to

establish the detrimental effect of delay in medical treatment.” Id. As to any sophisticated medical

condition, “failure to produce expert testimony to prove that a lack of proper medical treatment”

caused an inmate’s injury is “fatal to [his] deliberate indifference claim as a matter of law.”

Alberson v. Norris, 458 F.3d 762, 766 (8th Cir. 2006). If an inmate fails to provide evidence to

support his claim alleging damage from delay in care his claim must fail. Id. Further, if an inmate

has evidence of “his diagnosis and treatment, but he offer[s] no evidence establishing that any

delay in treatment had a detrimental effect, the inmate fail[s] to raise a genuine issue of fact on an

essential element of his claim.” Jackson v. Riebold, 815 F.3d 1114, 1120 (8th Cir. 2016) (citations

omitted).

       Under the subjective standard, an official is deliberately indifferent if he or she knows of

and disregards an excessive risk to an inmate’s health or safety, is aware that the inference could

be drawn that a substantial risk of serious harm exists, and also draws that inference. Farmer v.

Brennan, 511 U.S. 825, 837 (1994). The Supreme Court has likened deliberate indifference to a

criminal recklessness standard. Id. at 839. Finally, deliberate indifference is greater than gross

negligence and requires more than mere disagreement regarding medical treatment. Pietrafeso v.

Lawrence County, S.D., 452 F.3d 978, 983 (8th Cir. 2006).

       The Court looks to each individual Plaintiff’s claim under the § 1983 precedent.

       Hancock

       The Court previously held Hancock had a serious medical need with regard to his hernia.

The record reflects that a physician opined that Hancock required surgery to repair the hernia

falling under the definition of “a serious medical need” as “one that has been diagnosed by a



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physician as requiring treatment.” However, the Court did not previously find sufficient evidence

regarding Hancock’s back pain, or arthritis, to constitute a serious medical need. The Court finds

now, based on the additional evidence submitted through summary judgment, Hancock has not

provided any basis for a serious medical need that arises from his alleged back pain or arthritis.

Hancock’s alleged complaints regarding back pain do not constitute a serious medical need under

§ 1983.10

       Next, the Court looks to whether there is evidence of an inference of deliberate indifference

to Hancock’s constitutional rights. Evidence of possible negligence is insufficient to create an

inference of deliberate indifference. Dulany v. Carnahan, 132 F.3d at 1240. “Grossly incompetent

or inadequate care can constitute deliberate indifference in violation of the Eighth Amendment

where the treatment is so inappropriate as to evidence intentional maltreatment or a refusal to

provide essential care.” Id. at 1240-1241.

       The Court finds the facts in this case are similar to Dulany v. Carnahan. Id. In Dulaney,

the Eighth Circuit affirmed the district court’s order stating even though one of the plaintiffs

alleged that that prison officials failed to follow the recommendations of her outside consultants

“a prison doctor remains free to exercise his or her independent professional judgment and an

inmate is not entitled to any particular course of treatment” Id. at 1240 (citation omitted). Further,

the Eighth Circuit found that the plaintiff failed to demonstrate harm from any delay in treatment

even if the plaintiff had a serious medical need. Id. The Eighth Circuit stated that the medical

records indicated that prison physicians actively attended to the inmate’s needs and provided




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  Even if the Court were to find Hancock’s back pain rose to the level of a serious medical need,
for the reasons set forth herein his claim would still fail to establish a § 1983 claim of deliberate
indifference.
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diagnostic procedures in attempts to determine the cause of her pain and there was no evidence to

indicate that the prison medical officials did not respond reasonably to her medical needs. Id.

       Here, there is no evidence that the care provided to Hancock was grossly inadequate or

resulted in any serious harm to Plaintiff. Plaintiff has failed to provide evidence from which a trier

of fact could draw an inference that his medical treatment was grossly inappropriate or evidenced

intentional maltreatment. Hancock was seen on numerous occasions by medical providers both at

Greene County and outside the jail within the Mercy health system. He was not required to provide

prepayment for that care. While Hancock was referred for elective hernia repair surgery while

incarcerated at Greene County, there is no evidence that the surgery needed to be performed within

a certain time frame or that Defendants’ decisions regarding the surgery amounted to inadequate

care or grossly incompetent care. Hancock was informed that if his conditions worsened, or if the

hernia became strangulated, that he seek immediate care. However, there is no evidence any of

these events occurred during his detention at Greene County. The Court notes that if Hancock’s

conditions had worsened to a point where the doctors deemed the hernia repair to be an immediate

need then the refusal of such immediate treatment based on a requirement for prepayment could

form the basis of a constitutional violation. Here, however, while Hancock was a certainly a

candidate for elective hernia repair surgery, there was no specific timeframe during which the

surgery needed to occur and Defendants’ failure to schedule the surgery during the time he was

incarcerated at Greene County does not amount to evidence of an indifference that can offend

“evolving standards of decency” in violation of the Eighth Amendment.

       While this Court finds that Hancock had a serious medical need with regard to his hernia,

the evidence does not support that the treatment he received was inadequate. Here, Dr. Wilkins

remained free to exercise his independent medical judgment that the hernia repair surgery did not



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need to be immediately scheduled. That judgment was consistent with the advice of Dr. Luehr,

the outside surgeon. While Hancock was a candidate for the elective repair, there is no evidence

of medical malpractice, let alone indifference, and it appears Defendants responded reasonably to

the risk by monitoring his hernia for changes. Here, the medical records indicate that Hancock

was regularly provided medical treatment.

          This finding is further supported by Defendants’ retained expert’s opinion stating that

elective surgery can be offered but at no point did either Dr. Luehr or Dr. Johnson indicate that the

surgery had to be done to avoid medical complications or symptoms. Further, Dr. Luehr released

Hancock back to Greene County stating that Hancock could be scheduled for “elective repair.”

While Hancock was a candidate for hernia repair, and ultimately received the surgery, Hancock

simply cannot establish that any Defendant impermissibly denied or delayed necessary medical

care due to prepayment issues. In addition, the evidence supports that Plaintiff did not suffer any

health consequence as a result of Defendants’ actions or the alleged delay in the elective hernia

repair.

          There is no evidence that Defendants knew of and disregarded an excessive risk to

Hancock’s health or safety, were aware that such an inference could be drawn, that a substantial

risk of serious harm existed, and also drew that inference. See Farmer v. Brennan, 51 U.S. 825,

837 (1994). Here, Hancock has provided no medical evidence or expert opinion that a delay in his

hernia repair created any excessive risk or harm and certainly has no evidence amounting to a

criminal recklessness standard. Id. at 839. Dr. Wilkins frequently examined and monitored

Hancock and found no evidence of interference with daily activities or acute distress. Hancock

admits that he made only intermittent subjective complaints to Defendants when he came in for

multiple visits during which he was seen for unrelated issues and did not report hernia pain. At



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the time of his incarceration, Hancock’s objective manifestations were taken, such as vital signs,

heart rate, range of motion, and all medical examinations indicated Hancock was not in significant

pain or distress. Dr. Wilkins was “free to exercise his independent medical judgment” in

determining whether the hernia surgery needed to be immediately scheduled. Hancock has failed

to provide any evidence that the alleged delay in treatment caused him injury or any medical

reasons the hernia repair needed to be performed earlier than it was.

       Finally, Hancock has submitted a supplemental memorandum in support of his opposition

to summary judgment based on medical records obtained from the June 2020 surgery. (See Docs

293 and 296). Defendants have filed oppositions to Hancock’s supplemental brief and records

arguing the records are untimely, were not authorized to be filed as a “sur-response,” were filed

without any authority under the federal or local rules of civil procedure, and that Hancock did not

seek, or obtain, leave to file any such additional evidence and arguments. While this Court agrees

that Hancock’s supplemental filings are not properly before the Court, even if they were, a review

of the supplemental information taken in a light most favorable to Hancock does not alter this

Court’s rulings. At most, the supplemental filings and medical records establish that it was well

over a year after Hancock had been transferred out of Greene County before his symptoms

worsened. The medical records submitted well after the conclusion of summary judgment briefing

reflect that in June 2020 (Hancock left Greene County in March 2019) he was seen for “pain started

several weeks ago with diarrhea, nausea, and vomiting. The symptoms initially improved, but

then returned much more severe 2 days go. He has been vomiting constantly in the last 2 days

with sharp stabbing severe abdominal pain …. The bulge started as a small lump over a year ago,

but has increased in size significantly in the last few months….” (emphasis added). The late

submission of these medical records do not provide support that Hancock required surgery while



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in custody at Greene County. During Hancock’s incarceration at Greene County none of these

symptoms existed.

       Here, while the Court has found that Hancock had a serious medical need with regard to

his hernia, he cannot establish that Defendants were deliberately indifferent to this serious medical

need in order to prevail on a claim under § 1983.

       Blade

       After a review of the record before the Court, the Court finds Blade has failed to

demonstrate he has a serious medical need with regard to his complaints regarding his eye. Blade’s

vision, at his last appointment, had either improved or remained the same. However, regardless

of whether his eye complaints rise to the level of a serious medical need, Blade’s claim would fail

nonetheless as he cannot show a deliberate indifference to his medical needs.

       Blade was seen multiple times by the medical staff at Greene County and was also sent to

Optiland to be examined by an outside provider. There is no evidence that Blade required a

consultation with an ophthalmologist, however, he was referred to one only if he continued to see

flashes of light. Dr. White testified he fully expected Blade’s complaints to resolve on their own.

Defendants’ retained experts also reviewed the medical records and concurred that there was

nothing to indicate Blade required a consult with an ophthalmologist. Blade argues he should have

been sent to a specialist for another opinion. However, Blade fails to demonstrate the need for any

treatment and cannot establish he suffered any actual injury as a result of the failure of Defendants

to send him to a specialist. See e.g., Laughlin v. Schriro, 430 F.3d 927 (8th Cir. 2005). Further,

Blade has failed to provide any expert opinion that supports his argument that he received

inadequate care, was denied a required treatment, or was injured by Defendants’ actions.




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       There is simply no evidence to dispute that the care provided to Blade by Defendants met

the standard of care. Here, Defendants acted reasonably in providing care to Blade, including

multiple examinations while at Greene County and a referral to Optiland for examination. Blade

has not provided any evidence that an alleged delay in treatment caused him harm or injury. Here,

there is no evidence Dr. Wilkins, or any Defendants, had actual knowledge of a risk of harm and

failed to act. See Bryan v. Endell, 141 F.3d 1290 (8th Cir. 1998).

       The Optiland physician stated that Blade could be seen by an ophthalmologist if he

continued to see floaters, but he did not recommend any immediate consultation or treatment.

When Blade complained of seeing floaters he was given a referral to an ophthalmologist by Dr.

Wilkins. However, Blade never saw the ophthalmologist. The record contains a factual dispute

regarding whether Blade had access to the $250 required prepayment for the appointment - either

in his commissary account or from family/friends.

       Regardless of the dispute over whether Blade had the funds to pay for the appointment, the

issue before the Court is whether Defendants’ failure to send Blade to an ophthalmologist

constitutes a § 1983 violation. First, there is no evidence to support that Blade’s complaints of

seeing floaters constituted a serious medical need. Further, even if it does constitute a serious

medical need, there is no evidence Defendants failed to provide treatment or that he required

different treatment that rises to the level of deliberate indifference. Here, the record establishes

that Blade was seen on numerous occasions, was referred to Optiland, and that his vision had

improved after he left Greene County and was evaluated at the Missouri Department of

Corrections. For the reasons set forth herein and discussed throughout, Blade has also failed to

establish a § 1983 violation.




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       Porter

       After a review of the record before the Court, the Court finds Porter has failed to establish

a violation of his rights under § 1983 based on his allegations related to the medical treatment he

received related to the cyst on the roof of his mouth. Even if Porter’s cyst rises to the level of a

serious medical need, Porter has failed to establish a constitutional violation based on the treatment

he received while at Greene County.

       During his incarceration Porter was seen multiple times by Dr. Wilkins and ACH medical

staff. Porter was also seen by outside medical providers at Cox North, Dr. Fenwick, and Dr.

Gibson.11 Dr. Fenwick, ENT, performed in-office procedures including fiberoptic laryngoscopy,

which entailed the use of anesthesia and recommended an esophogram, also called a barium

swallow, that was done at the Martin Center by Dr. McCann. Porter was not required to prepay

for any of these medical examinations or procedures.

       Porter was also seen by oral surgeon Dr. Gipson who recommended removal of the cyst,

but similar to Hancock’s evaluation, Dr. Gibson did not provide a specific timeframe for the

removal of the cyst. Further, Porter did not request to be seen by any ACH medical staff regarding

the cyst at numerous times during his incarceration and refused to see the dentist when scheduled

to do so.

       Here, despite the fact Defendants did not schedule Porter to have the cyst removed with

Dr. Gibson, he was seen multiple times by ACH medical staff, and referred to a dentist, ENT and

oral surgeon. Porter was provided with medical care and treatment and cannot establish deliberate

indifference based on the standard set forth herein.12 Porter was provided antibiotics which appear



11
 Porter was also seen by Dr. Greer at Ferrell Duncan regarding unrelated complaints.
12
  Dr. Wilkins referred Porter to a dentist and an ENT on several occasions, prescribed the
medications recommended by the ENT and oral surgeon, ordered a CT scan per the
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to have reduced the swelling, along with oral hygiene. Further, there is no evidence that the

removal needed to be performed within a certain time frame, and to date, despite being released

from incarceration, Porter has not sought to have the oral surgery.

       The medical opinions set forth in the record state that Defendants met the standard of care,

and Porter has provided no evidence to dispute the opinions provided. Dr. Sclaroff, an oral surgery

expert, opined that Porter did not have a serious medical need for oral surgery and that the care he

received was not deliberately indifferent. Porter has provided no medical opinions to the contrary

and he has provided no opinion, other than his own, that the cyst was deteriorative. Finally, Porter

has failed to produce evidence to show any detrimental effect of a delay in the removal of the cyst,

let alone expert opinion that he has suffered harm by not having the cyst removed. Plaintiff

testified in his deposition that he had not obtained any further treatment for the cyst either while

incarcerated at Cook County jail, Iroquois County jail, or in Cape Girardeau, or since his release

from custody in August or September 2019.

       Here, even if the removal of the cyst constituted a serious medical need, Porter has failed

to show deliberate indifference in the medical care provided by the Defendants to establish a §

1983 claim. Porter simply cannot establish that the Defendants’ conduct rose to the level of

deliberate indifference.




recommendation of the ENT, ordered a referral for a barium swallow, ordered referral to a dentist,
ordered a referral to the oral surgeon, and ordered the nursing personnel to schedule Plaintiff’s oral
surgery. Plaintiff did not prepay for the numerous hospital visits, doctor’s visits, x-rays, or
treatments he received while incarcerated at Greene County.
                                                 26

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                                       CONCLUSION

        After a review of the record before the Court, and after considering the facts in a light

most favorable to the Plaintiffs, the Court hereby GRANTS Defendants’ motions for summary

judgment for the reasons set forth herein. (Docs. 236; 239; 242; 245; 274 and 278).

IT IS SO ORDERED.

Date: March 30, 2021                                _/s/ Douglas Harpool_______
                                                    Douglas Harpool
                                                    United States District Judge




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                                          LAWYERS
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                                      (417) 890-8990-fax
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                                                                                 * Member, Licensed
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FRANK COTTEY
                                                                                  ** Member
                                         June 18, 2021

Via Certified Mail 7018 1830 0001 1143 9797
TO: Advanced Correctional Healthcare, Inc.
C/O: Western Litigation
8401 N. Central Expressway, Suite 900
Dallas, TX 75225

AND
Via Certified Mail 7018 1830 0001 1143 9780 and Email at jessica.young@advancedch.com
Jessica Young, President & CEO
Advanced Correctional Healthcare, Inc.
3922 West Baring Trace
Peoria, IL 61615

Re: Claimant: Michael Hancock; Courtney Blake; and Anthony Porter
Michael Hancock et al Plaintiffs v. Jim C. Arnott et al, Defendants
Cause No. 6:18-cv-03170-MDH; and Eighth Circuit Court of Appeals Case Number 21-1954



Dear Advanced Correctional Healthcare:

         As you already know, this firm represents Jim Arnott in his official capacity as the
elected Sheriff of Greene County, Missouri. In his official capacity Sheriff Arnott operates the
jail and is the law enforcement arm of Greene County, Missouri. As you are well-aware,
Advanced Correctional Healthcare, Inc. (“ACH”) contracted to provide expert medical services
at the jail, as described in the attached Contract. (Ex. #1).

       In 2018 three inmates, Michael D. Hancock (“Hancock”), Anthony T. Porter (“Porter”),
and Courtney Blade (“Blade”), filed separate lawsuits under the civil rights act of 42 U.S.C. §
1983 in the United States District Court for the Western District of Missouri, which were then


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consolidated into Hancock’s case, Case Number 18-3170. Hancock, Porter, and Blade accused
ACH, ACH’s medical staff, the Sheriff in his official capacity, and the Sheriff’s staff, of being
deliberately indifferent to serious medical needs by not providing their desired treatment. Each of
these inmates alleged that they were deliberately denied treatment pursuant to policies enacted
and enforced at the jail that required pre-payment before treatment would be provided.

        Per the Contract, ACH was required to procure insurance coverage for the Sheriff and his
staff as to “all claims…which may arise from or in connection with the Contractor providing
the services contemplated in this Agreement” and “in the event that there is no such coverage,
the Contractor shall defend, indemnity, and hold harmless the Sheriff and the County, and
their respective officers, employees, agents, attorneys, successors, and assigns.” Ex. 1, Section
2.3. ACH’s indemnity and hold harmless obligations under the Contract include “reasonable
attorneys’ fees and other costs of litigation…” Ex. 1, Section 2.1.

        On September 7, 2018 the Sheriff through counsel tendered the consolidated Hancock
case to ACH to provide a defense, either directly or through its insurer. ACH did not respond.
Approximately two months later, on November 5, 2018 the Sheriff through counsel again
tendered the consolidated Hancock case to ACH, and this time advised that a United States
Marshal had recently delivered summonses, which set a deadline for them to file responsive
pleadings. ACH waited until the last moment, and on November 20, 2018 answered the tenders
through “Western Litigation,” a risk management company hired by Arch Specialty Insurance
Company, an insurer of ACH. In that response, ACH rejected tender and described that: “In each
of the three complaints filed, the individual prisoners are alleging that they were denied medical
care and treatment because they refused to pay for the fees of consultation and treatment. In
each instance, it is noted that neither ACH nor any of the employed staff involved in these
matters had any involvement in the creation of rules and regulations related to the payment for
outside medical providers and/or outside medical services for non-urgent, non-emergent care.
Nor did they have any role in determining who pay for medical treatment. Further, as you are
aware, Missouri law does not require anyone but the prisoner to pay or medical care.” Here,
ACH completely disregarded the nature of the inmate allegations, and that ACH was required to
determine the need for inmate medical care, regardless of whether categorized as “non-urgent” or
“non-emergent,” including that ACH was expressly required to provide expert medical opinions
as to whether inmates were medically fit for confinement and whether requested treatment was
medically necessary. ACH also disregarded that it was contractually obligated to assist the
Sheriff in enacting and revising medical treatment policies, and in fact had done so. Further,
contrary to ACH’s suggestion, Missouri law does not (and could not) violate the United States’
Constitution by authorizing anyone to disregard a serious medical need based on inmate failure
to pay. Further, ACH’s position that the claims against the Sheriff and his staff did not relate to
the services ACH was contracted to provide was contradicted by the simple fact that insurance
defense counsel was hired to protect ACH and its staff.

       All three plaintiffs in the consolidated Hancock case were represented by the law firm of
Shook, Hardy & Bacon, one of the biggest law firms in Missouri, which has offices across the
country, plus a London location. That firm assigned multiple attorneys to work on the
consolidated case. ACH and its staff were separately defended in the Hancock case at the District


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Court level by insurance defense counsel. This firm defended the Sheriff and his jail
administrators. For a brief moment, it appeared that ACH recognized the error of not providing a
defense, and on January 14, 2019 ACH through Arthur Rose contacted the Sheriff via
undersigned counsel to request a meeting. That same day, undersigned counsel contacted general
counsel for ACH, Alex Kinzinger, to report the contact and to offer to attend the meeting.
Attorney Kinzinger forwarded that communication to Jessica Young, who is both an attorney and
the President of ACH. Ms. Young contacted undersigned counsel and asked about the conflict. In
response, undersigned counsel explained in part that:

       …essentially, the allegations against Sheriff Arnott and his jail administrators are that
       they refused to substitute their judgment for ACH staff. All three inmates have alleged
       they should have been sent out of jail for free medical treatment. Our understanding is
       that they at best wanted elective treatment.

       … In any event, the gist is that the contract emphasizes that the Sheriff and his staff rely
       on ACH to determine whether inmates have serious medical needs, including whether
       they are fit for confinement, and whether inmate medical issues regard elective treatment.
       The contract also requires ACH to maintain insurance coverage for my clients, and ACH
       is responsible in the event coverage is denied.

       Strangely, a risk management company denied the tender on behalf of ACH; and at the
       same time said it had forwarded the tender to your insurer but expected it to be denied
       due to lack of coverage. I admit I do not understand how that company purported to act
       for you, or, if it was looking out for you, why it would argue ACH does not have
       insurance coverage applicable to my clients.

The next day, on January 15, 2019, Ms. Young sent undersigned counsel notice that ACH would
not renew the Contract after it expired.

       At the District Court level each party relied heavily on voluminous medical records and
expert opinions to demonstrate the appropriateness of medical care provided to the inmates. In
granting summary judgment in favor of all the defendants, the District Court issued a twenty-
seven (27) page order, which focused in detail on the nature of the various medical complaints
and care. Despite ACH’s continued awareness of the nature of the litigation, ACH never
reconsidered its earlier denial of tender and request for indemnification.

       Hancock (although not Porter or Blade) filed a notice of appeal to the Eighth Circuit of
the United States Court of Appeals. ACH is aware of and continues to be represented by
insurance defense counsel in the appeal. There can be zero doubt that the appeal relates to the
services ACH was obligated to provide in the Contract.

       Accordingly, we sincerely hope that ACH will reconsider its earlier denial of tender and
request for indemnification, and:

   -   Confirm that ACH will provide the costs of defending against the Hancock appeal;




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   -   Acknowledge ACH’s obligation to indemnify and hold harmless the Sheriff and his staff
       as required by the Contract.

   -   Provide reimbursement for outstanding defense costs incurred as of June 18, 2021,
       totaling $119,230.45 plus expense disbursements of $12,463.97;


Additionally, please provide a complete and full copy of each and every insurance policy that
ACH claims it procured to provide coverage the Sheriff and his staff as required by the Contract.


                                                    Cordially,

                                                    KECK & PHILLIPS, L.L.C.

                                                    /s/Damon S. Phillips
                                                      Damon S. Phillips



DP/mm
Enclosure, Ex. #1




                                                                   Exhibit
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                                                                           Peter R. Jennetten
                                                                      227 N.E. Jefferson Ave.
                                                                            Peoria, IL 61602

                                                                           T: (309) 674-1133
                                                                           F: (309) 674-6503
                                                              pjennetten@quinnjohnston.com

                                      July 7, 2021



Via Email: damon@kpwlawfirm.com
Damon S. Phillips
Keck & Phillips, L.L.C.
3140 E. Division St.
Springfield, MO 65802

              Re: Claimant: Michael Hancock; Courtney Blake; and Anthony Porter
                  Michael Hancock et al Plaintiffs v. Jim C. Arnott et al, Defendants
                  Cause No. 6:18-cv-03170-MDH; and Eighth Circuit Court of Appeals
                  Case Number 21-1954

Dear Mr. Phillips:

Your letter of June 18, 2021 was forwarded to me for a response. I understand that your
clients are demanding reimbursement of defense costs under the contract between ACH
and Greene County.

The indemnity clause in Section 2.1 provides that “the Contractor shall hold harmless
and indemnify the Sheriff and the County… against any claims… arising by reason of
any act, negligent or otherwise, of the Contractor or its personnel… This provision does
not, however, require the Contractor to indemnify or hold harmless the Sheriff or the
County from their own negligence.” The full section is:




                               PEORIA | SPRINGFIELD

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The insurance clause similarly requires the Contractor to procure “insurance
coverage… against all claims… which may arise from or in connection with the
Contractor providing the services contemplated in this Agreement.”




The purpose of these clauses is to provide indemnity and insurance coverage where a
plaintiff attempts to impose some vicarious liability upon the Sheriff or the County for
the actions or decisions of ACH staff. The Porter, Blade, and Hancock cases did not
attempt to make the Sheriff or the County vicariously liable for the actions of the ACH
staff. The Sheriff and County must defend and assume responsibility for any judgment
arising from their own policies and actions.

The consolidated lawsuit was a direct challenge to the Missouri statute, RSMo §221.120,
which provides in part: “the prisoner shall be liable for the payment of such medical
attention, dental care, or medicine…” and to Greene County’s written policies, which
tell inmates that “If you require care outside of the facility, you must assume
responsibility for payment of that care.” See, Order [300] at 3, 15 (court order granting
summary judgment, hereafter “Order”). The plaintiffs claimed that these policies were
enforced to require prepayment by the inmate even for necessary medical care for
serious medical needs and that any outside care would be denied if the inmate could
not prepay for it.

The complaints expressly alleged that the jail had a policy of requiring prepayment for
medical care. See e.g. Hancock Second Amended Complaint [120] at¶20-21; Porter
Second Amended Complaint [121] at¶20-23; Blade Second Amended Complaint [120]
at¶16-17. ACH did not create the policy, nor did it write the Inmate Rules and
Regulations which were quoted and upon which the claims were based. The claims
were frivolous, but that does not change the nature of the assertions: the claims against
your clients were based upon their actions and their policies, not ACH’s actions or
policies.




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The Court summarized the claim: “Plaintiffs argue that Greene County Justice Center’s
policy requiring inmates to pre-pay for treatment of a serious medical need amounts to
unconstitutional deliberate indifference.” Order at 15. The Court noted, referencing its
prior order, that requiring inmates to prepay for necessary medical services for a
serious medical need is a constitutional violation (Order at 16), but found on summary
judgment that the written policy, on its face, was not a violation of the constitution. Id.
Rather than address whether there was an unconstitutional custom or practice of
denying such care, the Court instead analyzed each plaintiff’s care and found either that
they did not have a serious medical need or that the jail staff were not deliberately
indifferent. Order at 18-26.

Returning to the indemnity clause, the claims against the Sheriff and correctional staff
are not claims “arising by reason of any act” of ACH or its staff. The claims against the
sheriff and correctional staff arose solely from their own policies. Looking at the
insurance clause, the claims do not “arise from or in connection with the Contractor
providing the services.” They arise from the policies created and implemented
(allegedly) by the Sheriff and the jail. Plaintiffs’ claims were not that they were
misdiagnosed or mistreated. Plaintiffs claimed that they were not allowed to have
treatment recommended by the medical staff because of the jail’s policies (the plaintiffs
were wrong, but that does not change the nature of their claim).

    It is my understanding that the insurer, Arch, was informed of your request for
coverage and they can respond to that request. Enclosed is a copy of the policy. With
respect to the tender to ACH under the contract, it remains our position that your
clients are not entitled to defense or indemnity from ACH.

                                                Very truly yours,

                                                QUINN JOHNSTON

                                          By:
                                                Peter R. Jennetten

PRJ:kp
Enclosure



4811-6217-1632, v. 3




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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

MICHAEL D. HANCOCK, PLAINTIFF,                     )
                                                   )
v.                                                 )   Case No. 6:18-cv-03170-MDH-P
                                                   )
JIM ARNOTT, ET AL., DEFENDANTS,                    )   Consolidated with Cases 18-4114 and
                                                   )   18-3212
                                                   )
                                                   )
ANTHONY T. PORTER, PLAINTIFF,                      )
                                                   )
v.                                                 )   Case No. 6:18-cv-04114-MDH-P
                                                   )
MASSIE, ET AL., DEFENDANTS,                        )
                                                   )
                                                   )
COURTNEY BLADE, PLAINTIFF,                         )
                                                   )
v.                                                 )   Case No.: 6:18-cv-03212-MDH-P
                                                   )
ADVANCED CORRECTIONAL                              )
HEALTHCARE, ET AL., DEFENDANTS.                    )

                 MICHAEL D. HANCOCK’S FIRST AMENDED COMPLAINT

        Plaintiff Michael D. Hancock, for his claims against Royce Denny, David Johnson, Jeff

Coonrod, Melissa Howell, Jason Wilkins, Eric Partenheimer, Advanced Correctional Healthcare,

Jim Arnott, and Greene County, alleges as follows:

        1.       Plaintiff Michael D. Hancock is a citizen of Missouri who currently resides at South

Central Correctional Center, 255 W. Highway 32, Licking, Missouri 65542.

        2.       Defendant Arnott is a citizen of Missouri, and at all times relevant to this action

was the Sheriff of Greene County, Missouri. As Sheriff of Greene County, Missouri, Arnott set

the rules, regulations, and policies of the Greene County Justice Center (the “Jail”).




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        3.       Defendant Denny is a citizen of Missouri, and at all times relevant to this action

was a law enforcement official of Greene County, Missouri. As an official for Greene County,

Denny set and enforced the rules, regulations, and policies of the Jail.

        4.       Defendant Howell is a citizen of Missouri, and at all times relevant to this action

was a law enforcement official of Greene County, Missouri. As an official for Greene County,

Denny set and enforced the rules, regulations, and policies of the Jail.

        5.       Defendant Johnson is a citizen of Missouri, and at all times relevant to this action

was a law enforcement official of Greene County, Missouri. As an official for Greene County,

Denny set and enforced the rules, regulations, and policies of the Jail.

        6.       Defendant Coonrod is a citizen of Missouri, and at all times relevant to this action

was a law enforcement official of Greene County, Missouri. As an official for Greene County,

Denny set and enforced the rules, regulations, and policies of the Jail.

        7.       Defendant Advanced Correctional Healthcare, Inc. is a citizen of Illinois and at all

times relevant to this action contracted with the Jail to provide medical care and treatment to the

inmates at that facility. As an official for Greene County, Denny set and enforced the rules,

regulations, and policies of the Jail.

        8.       Defendant Jason Wilkins is a citizen of Missouri and at all times relevant to this

action was the Jail Physician and an employee of Defendant Advanced Correctional Healthcare.

        9.       Defendant Partenheimer is a citizen of Missouri and at all times relevant to this

action was the supervisory nurse at the Jail and an employee of Defendant Advanced Correctional

Healthcare.




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        10.      Defendant Greene County is a municipal corporation organized under the laws of

the State of Missouri. During all times relevant to this action, acting through its Sheriff’s Office,

Greene County maintained and operated the Jail.

                                  JURISDICTION AND VENUE

        11.      Mr. Hancock has brought claims for the violation of his constitutional rights as

provided by 42 U.S.C. § 1983. Consequently, this Court has subject matter jurisdiction pursuant

to 28 U.S.C. §§ 1331 and 1343.

        12.      Pursuant to 28 U.S.C. § 1391, venue of this action properly lies in the United States

District Court for the Western District of Missouri, Southern Division.

                        ALLEGATIONS COMMON TO ALL COUNTS

        13.      Mr. Hancock hereby incorporates by reference allegations of Paragraphs 1 through

12 above as if set forth fully herein.

        14.      Mr. Hancock arrived at the Jail shortly after undergoing surgery for gunshot

wounds.

        15.      The surgery caused him to suffer from a ventral hernia.

        16.      Mr. Hancock sought treatment for his hernia from jail medical staff, including

Defendant Wilkins and Defendant Partenheimer.

        17.      The medical staff sent Mr. Hancock to a trauma surgeon at Mercy Hospital for a

follow up to treat his ventral hernia.

        18.      The Mercy trauma surgeon recommended Mr. Hancock undergo hernia repair

surgery and had Mr. Hancock sign paperwork consenting to surgery.

        19.      The hospital required prepayment of a $3,500 fee for the surgery.




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          20.    Defendants Wilkins, Howell, and Partenheimer informed Mr. Hancock that it was

the Jail’s policy that Mr. Hancock must personally pre-pay the fee for the surgery.

          21.    This policy is explicitly stated in Section 6(C) of the Greene County’s Inmate Rules

and Regulations which states, in part: “If you require case outside of the facility, you must assume

responsibility for payment of that care.”

          22.    Defendants were responsible for creating and enforcing this policy.

          23.    Mr. Hancock, at all relevant times, was indigent.

          24.    Mr. Hancock told Defendants he could not afford the fee for the surgery.

          25.    Defendant Wilkins admits that Mr. Hancock’s hernia condition needs treatment.

          26.    Based on the Jail’s policy of requiring pre-payment of the fee, Defendants denied

Mr. Hancock access to recommended hernia surgery.

          27.    Mr. Hancock’s hernia is actively getting larger, and often requires him to push the

protruding hernia back inside his body.

          28.    Mr. Hancock’s hernia causes him physical and emotional discomfort and interferes

with his daily activities.

          29.    Mr. Hancock also suffers from degenerative arthritis, causing severe pain to his

back.

          30.    On several occasions, Defendants refused to treat Mr. Hancock’s back pain,

including refusing to send him to see a specialist, because he was unable to prepay for treatment.

          31.    Mr. Hancock presented his claims through the Jail’s grievance procedure and was

denied.




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4824-8542-4794
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                                                                          Exhibit O
                                                                                                     Electronically Filed - Greene - June 28, 2022 - 01:16 PM
                      COUNT 1 – VIOLATION OF 42 U.S.C. § 1983:
                   CRUEL AND UNUSUAL PUNISHMENT (All Defendants)

        32.      Mr. Hancock hereby incorporates by reference allegations of Paragraphs 1 through

31 above as if set forth fully herein.

        33.      Mr. Hancock suffered from objectively serious medical needs.

        34.      Defendants actually knew about Mr. Hancock’s objectively serious medical needs

and deliberately disregarded those need by withholding necessary medical care for want of

payment from an inmate who could not pay.

        35.      It was the common practice, policy, custom, habit and accepted culture for Jail

personnel to deny all inmates outside medical care if the inmates could not afford to pre-pay for

it.

        36.      A policy requiring inmates to prepay for medical services when a serious medical

need exists violates the Eighth Amendment of the United States Constitution.

        37.      Defendants’ denial of medical care constitutes deliberate indifference to Mr.

Hancock’s serious medical needs.

        38.      As a direct and proximate result of Defendants’ actions, Mr. Hancock was deprived

of his constitutional right to be free from cruel and unusual punishment. This deprivation caused

him, and continues to cause him, to suffer significant physical, mental, and emotional injuries.

        39.      At all times, Defendants were acting under color of state law.

        40.      Defendants’ actions were maliciously and recklessly indifferent to Mr. Hancock’s

constitutional rights. Mr. Hancock is therefore entitled to an award of punitive damages.

        41.      Pursuant to 42 U.S.C. § 1988, Defendants are liable for Mr. Hancock’s reasonable

attorneys’ fees and costs incurred in bringing this action.




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4824-8542-4794
      Case 6:22-cv-03193-MDH
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                                                                        Exhibit O
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        WHEREFORE, Mr. Hancock prays for judgment on Count 1 of actual damages, for

punitive damages sufficient and necessary to punish Defendants and to deter others from like

conduct; for attorney’s fees, costs and disbursements as allowed under 42 U.S.C. § 1988; and for

such other and further relief as the Court deems just and equitable.


Dated: July 15, 2019                                 Respectfully submitted,


                                                     /s/ Michael J. Cappo
                                                     Charles C. Eblen, MO Bar #55166
                                                     Kerensa Cassis, MO Bar #67408
                                                     Michael J. Cappo, MO Bar #65823
                                                     Jordan A. Kane, MO Bar #71028
                                                     SHOOK, HARDY & BACON L.L.P.
                                                     2555 Grand Blvd.
                                                     Kansas City, MO 64108
                                                     Telephone: 816-474-6550
                                                     Facsimile: 816-421-5547
                                                     ceblen@shb.com
                                                     kcassis@shb.com
                                                     mcappo@shb.com
                                                     jkane@shb.com

                                                     Attorneys for Plaintiffs




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4824-8542-4794
      Case 6:22-cv-03193-MDH
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                                                                Page    of 195
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                                                                        Exhibit O
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 15, 2019, I electronically filed the above with the Clerk of the

Court by using the CM/ECF system, which will send a notice of electronic filing to counsel of

record.

                                                         /s/ Michael J. Cappo
                                                         Attorney for Plaintiffs




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4824-8542-4794
      Case 6:22-cv-03193-MDH
        Case 6:18-cv-03170-MDHDocument 1-1120Filed
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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

MICHAEL D. HANCOCK, PLAINTIFF,                     )
                                                   )
v.                                                 )   Case No. 6:18-cv-03170-MDH-P
                                                   )
JIM ARNOTT, ET AL., DEFENDANTS,                    )   Consolidated with Cases 18-4114 and
                                                   )   18-3212
                                                   )
                                                   )
ANTHONY T. PORTER, PLAINTIFF,                      )
                                                   )
v.                                                 )   Case No. 6:18-cv-04114-MDH-P
                                                   )
MASSIE, ET AL., DEFENDANTS,                        )
                                                   )
                                                   )
COURTNEY BLADE, PLAINTIFF,                         )
                                                   )
v.                                                 )   Case No.: 6:18-cv-03212-MDH-P
                                                   )
ADVANCED CORRECTIONAL                              )
HEALTHCARE, ET AL., DEFENDANTS.                    )

                 ANTHONY T. PORTER’S SECOND AMENDED COMPLAINT

        Plaintiff Anthony T. Porter, for his claims against Defendants Massie, Jason Wilkins,

Advanced Correctional Healthcare, Jim Arnott, and Greene County, alleges as follows:

        1.       Plaintiff Anthony Porter is a citizen of Missouri whose current address is unknown.

        2.       Defendant Arnott is a citizen of Missouri, and at all times relevant to this action

was the Sheriff of Greene County, Missouri. As Sheriff of Greene County, Missouri, Arnott set

the rules, regulations, and policies of the Greene County Justice Center (the “Jail”).

        3.       Defendant Advanced Correctional Healthcare, Inc. is a citizen of Illinois and at all

times relevant to this action contracted with the Jail to provide medical care and treatment to the

inmates at that facility.




4823-3626-4858
      Case 6:22-cv-03193-MDH
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        4.       Defendant Jason Wilkins is a citizen of Missouri and at all times relevant to this

action was an employee of Defendant Advanced Correctional Healthcare.

        5.       Defendant Massie is a citizen of Missouri and at all times relevant to this action

was an employee of Defendant Advanced Correctional Healthcare.

        6.       Defendant Greene County is a municipal corporation organized under the laws of

the State of Missouri. During all times relevant to this action, acting through its Sheriff’s Office,

Greene County maintained and operated the Jail.

                                  JURISDICTION AND VENUE

        7.       Mr. Porter has brought claims for the violation of his constitutional rights as

provided by 42 U.S.C. § 1983. Consequently, this Court has subject matter jurisdiction pursuant

to 28 U.S.C. §§ 1331 and 1343.

        8.       Pursuant to 28 U.S.C. § 1391, venue of this action properly lies in the United States

District Court for the Western District of Missouri, Southern Division.

                        ALLEGATIONS COMMON TO ALL COUNTS

        9.       Mr. Porter hereby incorporates by reference allegations of Paragraphs 1 through 8

above as if set forth fully herein.

        10.      While incarcerated at the Jail, Mr. Porter’s medical care was under the direction of

the Jail’s physician, Defendant Wilkins. Defendant Wilkins purported to have the final decision

on Mr. Porter’s access to medical care.

        11.      While incarcerated at the Jail, Defendant Massie, a nurse for Advanced

Correctional Healthcare, worked under the supervision of Defendant Wilkins to respond to Mr.

Porter’s medical care requests.

        12.      Mr. Porter, at all relevant times, was indigent.




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        13.      Mr. Porter suffered from a large, infected cystic lesion on the roof of his mouth, so

severe that it threatened to deteriorate the bone structure from the right orbital socket in his jaw

down to his teeth, breaking his jaw.

        14.      A physician diagnosed Mr. Porter’s cyst as warranting surgery.

        15.      On February 11, 2018, Mr. Porter presented to the Jail’s health care office to be

seen for his cyst.

        16.      Defendant Massie refused to provide Mr. Porter medical treatment for his cyst

because Mr. Porter would not re-sign a sick call form authorizing monetary deductions from his

inmate account.

        17.      Mr. Porter explained to Defendant Massie that he was indigent and unable to afford

to pay for medical treatment for his cyst.

        18.      Mr. Porter was seen by Defendant Wilkins on April 19, 2018.

        19.      Because Mr. Porter could not pre-pay for treatment for his cyst, Defendants denied

him such treatment, including a surgery for his cyst.

        20.      Defendants promulgated and adhered to a policy, custom, or practice laid out in

Section 6(C) of the Inmate Rules and Regulations, which states, in part: “If you require care outside

of the facility, you must assume responsibility for payment of that care.”

        21.      Pursuant to Section 6, Defendants had a custom, policy, and practice of denying all

inmates any outside medical care if inmates are unable to pre-pay for it.

        22.      This policy, practice, or custom originates from Defendants’ erroneous position that

Missouri law does not require anyone but the prisoner to pre-pay for medical care.

        23.      Defendants, in denying Mr. Porter medical care, applied this policy, custom, and

practice laid out in Section 6 of the Inmate Rules and Regulations.




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          24.    Mr. Porter presented his claim through the Jail’s grievance procedure and was

denied.

                      COUNT 1 – VIOLATION OF 42 U.S.C. § 1983:
                   CRUEL AND UNUSUAL PUNISHMENT (All Defendants)

          25.    Mr. Porter hereby incorporates by reference allegations of Paragraphs 1 through 24

above as if set forth fully herein.

          26.    Mr. Porter suffered from an objectively serious medical need.

          27.    Defendants actually knew about Mr. Porter’s objectively serious medical need and

deliberately disregarded that need by withholding necessary medical care for want of payment

from an inmate who could not pay.

          28.    It was the common practice, policy, custom, habit and accepted culture for Jail

personnel to deny an inmate outside medical care if the inmate could not afford to pre-pay for it.

          29.    A policy requiring inmates to prepay for medical services when a serious medical

need exists violates the Eighth Amendment of the United States Constitution.

          30.    Defendants applied this policy when denying Mr. Porter medical services.

          31.    Defendants’ denial of medical care constitutes deliberate indifference to Mr.

Porter’s serious medical needs.

          32.    As a direct and proximate result of Defendants’ actions, Mr. Porter was deprived

of his constitutional right to be free from cruel and unusual punishment. This deprivation caused

him, and continues to cause him, to suffer significant physical, mental, and emotional injuries,

including worsening his infected cyst.

          33.    At all times, Defendants were acting under color of state law.

          34.    Defendants’ actions were maliciously and recklessly indifferent to Mr. Porter’s

constitutional rights. Mr. Porter is therefore entitled to an award of punitive damages.



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        35.      Pursuant to 42 U.S.C. § 1988, Defendants are liable for Mr. Porter’s reasonable

attorneys’ fees and costs incurred in bringing this action.

        WHEREFORE, Mr. Porter prays for judgment on Count 1 of actual damages, for punitive

damages sufficient and necessary to punish Defendants and to deter others from like conduct; for

attorney’s fees, costs and disbursements as allowed under 42 U.S.C. § 1988; and for such other

and further relief as the Court deems just and equitable.


Dated: July 15, 2019                               Respectfully submitted,


                                                   /s/ Michael J. Cappo
                                                   Charles C. Eblen, MO Bar #55166
                                                   Kerensa Cassis, MO Bar #67408
                                                   Michael J. Cappo, MO Bar #65823
                                                   Jordan A. Kane, MO Bar #71028
                                                   SHOOK, HARDY & BACON L.L.P.
                                                   2555 Grand Blvd.
                                                   Kansas City, MO 64108
                                                   Telephone: 816-474-6550
                                                   Facsimile: 816-421-5547
                                                   ceblen@shb.com
                                                   kcassis@shb.com
                                                   mcappo@shb.com
                                                   jkane@shb.com

                                                   Attorneys for Plaintiffs




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      Case 6:22-cv-03193-MDH
        Case 6:18-cv-03170-MDHDocument 1-1121Filed
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                                                                         Exhibit P
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 15, 2019, I electronically filed the above with the Clerk of the

Court by using the CM/ECF system, which will send a notice of electronic filing to counsel of

record.

                                                         /s/ Michael J. Cappo
                                                         Attorney for Plaintiffs




4823-3626-4858                       6
      Case 6:22-cv-03193-MDH
        Case 6:18-cv-03170-MDHDocument 1-1121Filed
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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

MICHAEL D. HANCOCK, PLAINTIFF,                     )
                                                   )
v.                                                 )   Case No. 6:18-cv-03170-MDH-P
                                                   )
JIM ARNOTT, ET AL., DEFENDANTS,                    )   Consolidated with Cases 18-4114 and
                                                   )   18-3212
                                                   )
                                                   )
ANTHONY T. PORTER, PLAINTIFF,                      )
                                                   )
v.                                                 )   Case No. 6:18-cv-04114-MDH-P
                                                   )
MASSIE, ET AL., DEFENDANTS,                        )
                                                   )
                                                   )
COURTNEY BLADE, PLAINTIFF,                         )
                                                   )
v.                                                 )   Case No.: 6:18-cv-03212-MDH-P
                                                   )
ADVANCED CORRECTIONAL                              )
HEALTHCARE, ET AL., DEFENDANTS.                    )

                 COURTNEY BLADE’S SECOND AMENDED COMPLAINT

        Plaintiff Courtney Blade, for his claims against Jason Wilkins, Advanced Correctional

Healthcare, Jim Arnott, and Greene County, alleges as follows:

        1.       Plaintiff Courtney Blade is a citizen of Missouri who currently resides at Fulton

Reception & Diagnostic Center1393 State Road O, Fulton, MO 65251.

        2.       Defendant Arnott is a citizen of Missouri, and at all times relevant to this action

was the Sheriff of Greene County, Missouri. As Sheriff of Greene County, Missouri, Arnott set

the rules, regulations, and policies of the Greene County Justice Center (the “Jail”).

        3.       Defendant Advanced Correctional Healthcare, Inc. is a citizen of Illinois and at all

times relevant to this action contracted with the Jail to provide medical care and treatment to the

inmates at that facility.



4849-2061-1482
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        4.       Defendant Wilkins is a citizen of Missouri and at all times relevant to this action

was an employee of Defendant Advanced Correctional Healthcare.

        5.       Defendant Greene County is a municipal corporation organized under the laws of

the State of Missouri. During all times relevant to this action, acting through its Sheriff’s Office,

Greene County maintained and operated the Jail.

                                  JURISDICTION AND VENUE

        6.       Mr. Blade has brought claims for the violation of his constitutional rights as

provided by 42 U.S.C. § 1983. Consequently, this Court has subject matter jurisdiction pursuant

to 28 U.S.C. §§ 1331 and 1343.

        7.       Pursuant to 28 U.S.C. § 1391, venue of this action properly lies in the United States

District Court for the Western District of Missouri, Southern Division.

                        ALLEGATIONS COMMON TO ALL COUNTS

        8.       Mr. Blade hereby incorporates by reference allegations of Paragraphs 1 through 7

above as if set forth fully herein.

        9.       While incarcerated at the Jail, Mr. Blade’s medical care was under the direction of

the Jail’s physician, Defendant Wilkins. Defendant Wilkins purported to have the final decision

on Mr. Porter’s access to medical care.

        10.      Mr. Blade, at all relevant times, was indigent.

        11.      While detained at the Jail, another inmate stabbed Mr. Blade in the eye, resulting

in an eye injury that causes him to see black spots, floaters, and flashes of light.

        12.      Mr. Blade sought treatment from Jail medical staff, including Defendant Wilkins,

who sent him to an eye doctor at Optiland.




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        13.      The Optiland doctor referred Mr. Blade to an ophthalmologist if he continued to

have symptoms, or his symptoms worsened.

        14.      The ophthalmologist required pre-payment of a $250 pre-consultation fee to

schedule an appointment for Mr. Blade.

        15.      Because of his indigency, Mr. Blade could not personally pre-pay the $250 pre-

consultation fee.

        16.      The Jail follows a policy requiring inmates to pre-pay outside medical fees.

        17.      Section 6(C) of the Greene County’s Inmate Rules and Regulations states this

policy: “If you require case outside of the facility, you must assume responsibility for payment of

that care.”

        18.      Based on the Jail’s policy requiring pre-payment of the fee, Defendants denied Mr.

Blade access to an ophthalmologist.

                       COUNT 1 – VIOLATION OF 42 U.S.C. § 1983:
                    CRUEL AND UNUSUAL PUNISHMENT (All Defendants)

        19.      Mr. Blade hereby incorporates by reference allegations of Paragraphs 1 through 18

above as if set forth fully herein.

        20.      Mr. Blade suffered from an objectively serious medical need.

        21.      Defendants actually knew about Mr. Blade’s objectively serious medical need and

deliberately disregarded that need by withholding necessary medical care for want of payment

from an inmate who could not pay.

        22.      It was the common practice, policy, custom, habit and accepted culture for Jail

personnel to deny all inmates outside medical care if the inmates could not afford to pre-pay for

it.




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      Case 6:22-cv-03193-MDH
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        23.      A policy requiring inmates to prepay for medical services when a serious medical

need exists violates the Eighth Amendment of the United States Constitution.

        24.      Defendants’ denial of medical care constitutes deliberate indifference to

Mr. Blade’s serious medical needs.

        25.      As a direct and proximate result of Defendants’ actions, Mr. Blade was deprived of

his constitutional right to be free from cruel and unusual punishment. This deprivation caused him,

and continues to cause him, to suffer significant physical, mental, and emotional injuries.

        26.      At all times, Defendants were acting under color of state law.

        27.      Defendants’ actions were maliciously and recklessly indifferent to Mr. Blade’s

constitutional rights. Mr. Porter is therefore entitled to an award of punitive damages.

        28.      Pursuant to 42 U.S.C. § 1988, Defendants are liable for Mr. Blade’s reasonable

attorneys’ fees and costs incurred in bringing this action.

        WHEREFORE, Mr. Blade prays for judgment on Count 1 of actual damages, for punitive

damages sufficient and necessary to punish Defendants and to deter others from like conduct; for

attorney’s fees, costs and disbursements as allowed under 42 U.S.C. § 1988; and for such other

and further relief as the Court deems just and equitable.


Dated: July 15, 2019                               Respectfully submitted,


                                                   /s/ Michael J. Cappo
                                                   Charles C. Eblen, MO Bar #55166
                                                   Kerensa Cassis, MO Bar #67408
                                                   Michael J. Cappo, MO Bar #65823
                                                   Jordan A. Kane, MO Bar #71028
                                                   SHOOK, HARDY & BACON L.L.P.
                                                   2555 Grand Blvd.
                                                   Kansas City, MO 64108
                                                   Telephone: 816-474-6550
                                                   Facsimile: 816-421-5547



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      Case 6:22-cv-03193-MDH
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                                                                        Exhibit Q
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                                         ceblen@shb.com
                                         kcassis@shb.com
                                         mcappo@shb.com
                                         jkane@shb.com

                                         Attorneys for Plaintiffs




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      Case 6:22-cv-03193-MDH
        Case 6:18-cv-03170-MDHDocument 1-1122Filed
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                                                                        Exhibit Q
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 15, 2019, I electronically filed the above with the Clerk of the

Court by using the CM/ECF system, which will send a notice of electronic filing to counsel of

record.

                                                         /s/ Michael J. Cappo
                                                         Attorney for Plaintiffs




4849-2061-1482                       6
      Case 6:22-cv-03193-MDH
        Case 6:18-cv-03170-MDHDocument 1-1122Filed
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                                                                        Exhibit Q
            IN THE 31ST JUDICIAL CIRCUIT, GREENE COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 2231-CC00636
 MICHAEL J CORDONNIER
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address
  JIM ARNOTT IN THE CAPACITY AS SHERIFF                      DAMON SEAN PHILLIPS
 OF GREENE COUNTY MO                                         KECK & PHILLIPS, LLC
                                                             3140 E. DIVISION
                                 vs.                         SPRINGFIELD, MO 65802
 Defendant/Respondent:                                       Court Address:
  ADVANCED CORRECTIONAL HEALTHCARE                           JUDICIAL COURTS FACILITY
 INC                                                         1010 N BOONVILLE AVE
 Nature of Suit:                                             SPRINGFIELD, MO 65802
 CC Breach of Contract                                                                                                        (Date File Stamp)

                                                        Summons in Civil Case
  The State of Missouri to: ADVANCED CORRECTIONAL HEALTHCARE INC
                            Alias:
 RA CT CORPORATION SYSTEM
 120 S CENTRAL AVE
 CLAYTON, MO 63105
       COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                    copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                    plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                    exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                    be taken against you for the relief demanded in the petition.

      GREENE COUNTY                                 06/28/2022                                      /s/ Thomas R. Barr by ar
                                                      Date                                                      Clerk
                                   Further Information:
                                                         Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above Summons by: (check one)
         delivering a copy of the summons and petition to the defendant/respondent.
         leaving a copy of the summons and petition at the dwelling house or usual place of abode of the defendant/respondent with
           _________________________________________________, a person at least 18 years of age residing therein.
         (for service on a corporation) delivering a copy of the summons and petition to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ________________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                           _________________________________________________
                    Printed Name of Sheriff or Server                                                Signature of Sheriff or Server
                                 Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                  My commission expires: __________________                ________________________________________
                                                                     Date                                        Notary Public
   Sheriff’s Fees, if applicable
   Summons                       $
   Non Est                       $
   Sheriff’s Deputy Salary
   Supplemental Surcharge        $   10.00
   Mileage                       $                (______ miles @ $.______ per mile)
   Total                         $
   A copy of the summons and petition must be served on each defendant/respondent. For methods of service on all classes of suits,
   see Supreme Court Rule 54.


SJRC (07-21) SM30 (SMCC) For Court Use Only: Document ID # 22-SMCC-1342 1 of 1 (2231-CC00636)    Civil Procedure Form No. 1, SCR 54.01 – 54.05,
                  Case 6:22-cv-03193-MDH Document 1-1 Filed 07/29/22                              Page 193 of 195
                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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